Case 2:21-cv-04920-WLH-ADS        Document 440-1   Filed 08/30/24   Page 1 of 52 Page
                                      ID #:11620


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      s ecially appearing), MG Freesites Ltd,
  11   G Premium Ltd, MindGeek USA
     Incorporated, MG Global Entertainment
  12 Inc., and 9219-1568 Quebec Inc.
  13                     UNITED STATES DISTRICT COURT
  14                    CENTRAL DISTRICT OF CALIFORNIA
  15   SERENA FLEITES,                             Case No. 2:21-cv-04920-WLH-ADS
  16                 Plaintiff,                    MEMORANDUM OF POINTS AND
                                                   AUTHORITIES IN SUPPORT OF
  17      v.                                       MOTION TO DISMISS OF
                                                   DEFENDANTS MINDGEEK
  18   MINDGEEK S.A R.L, et al.,                   S.A R.L., MG FREESITES LTD,
                                                   MINDGEEK USA
  19                 Defendants.                   INCORPORATED, MG GLOBAL
                                                   ENTERTAINMENT INC., AND
  20                                               9219-1568 QUEBEC INC.
  21                                               [REDACTED VERSION OF
                                                   DOCUMENT PROPOSED TO BE
  22                                               FILED UNDER SEAL]
  23                                               Hearing Date:      November 22, 2024
                                                   Hearing Time:      1:30 p.m.
  24                                               Courtroom:         9B
                                                   Judge:             Hon. Wesley L. Hsu
  25
                                                   Complaint Filed: June 17, 2021
  26
                                                   Trial Date:        None Set
  27
  28

                           MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS   Document 440-1       Filed 08/30/24   Page 2 of 52 Page
                                 ID #:11621


   1                            TABLE OF CONTENTS
   2                                                                               Page
   3 SUMMARY OF THE ARGUMENT                                                            1
   4 ARGUMENT                                                                           2
   5 I.     PLAINTIFF'S CLAIMS ARE BARRED BY SECTION 230                                2
   6        A.   MindGeek Is Not A Content Creator                                      3
   7        B.   On the Facts Alleged, FOSTA's Exception Does Not Apply                 8
   8             1.    Plaintiff Has Not Alleged That MindGeek Violated
                       Section 1591(a)(1)                                               9
   9
                 2.    Plaintiff Has Not Alleged That MindGeek Violated
  10                   Section 1591(a)(2)                                              10
  11 II.    EVEN IF NOT BARRED BY § 230, PLAINTIFF'S CLAIMS
            INDEPENDENTLY FAIL                                                         14
  12
            A.   Plaintiffs Counts I, IV, and XV Fail to State Claims for Violation of
  13             Either Federal or State Sex-Trafficking Laws                         14
  14             1.    Plaintiff Has Not Sufficiently Alleged a Violation by
                       MindGeek of the Federal Sex-Trafficking Laws (18
  15                   U.S.C. §§ 1591, 1594, 1595)                                     15
  16             2.    Plaintiffs Count XV Equally Fails to State a Claim under
                       Cal. Civ. Code § 52.5                                           16
  17
            B.   Plaintiffs Counts V and VI Fail to State a Claim for Receipt,
  18             Transport, or Distribution of Child Pornography (18 U.S.C. §§ 2252,
                 2252A, 2255)                                                       17
  19
            C.   Plaintiffs Remaining Claims Do Not Meet the Respective Pleading
  20             Requirements.                                                   19
  21             1.    Because MindGeek Is Not the Publisher of the Videos,
                       Plaintiffs Intentional Tort Claims Fail.                        19
  22
                 2.    Plaintiffs Misappropriation of Likeness Claims (Cal. Civ.
  23                   Code § 3344) Fail for Additional Reasons.                       20
  24             3.    Plaintiffs Count XIII Fails to State a Claim for
                       Negligence.                                                     21
  25
                 4.    Plaintiffs Count XIV Fails to State a Claim for Unfair
  26                   Competition (Cal. Bus. & Prof. Code §§ 17200 and
                       17500).                                                         22
  27
                 5.    Plaintiff Cannot State a Claim for Civil Conspiracy             23
  28

                                              i
                          MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS    Document 440-1        Filed 08/30/24   Page 3 of 52 Page
                                  ID #:11622


   1 III.   THE COURT LACKS PERSONAL JURISDICTION OVER MINDGEEK
            S.A R.L                                            23
   2
            A.   Plaintiff Must Come Forward with Evidence Sufficient to Establish
   3             Her Disputed Jurisdictional Allegations.                          24
   4        B.   Plaintiff's Jurisdictional Allegations as to MindGeek SI r.l. Do Not
                 Meet Her Burden                                                      25
   5
                 1.    The Court Lacks Personal Jurisdiction over MindGeek
   6                   S.a r.1                                                           25
   7             2.    MindGeek S.a. r.l. Is Also Beyond the Territorial Reach of
                       18 U.S.C. § 1595                                                  27
   8
                 3.    Plaintiff Cannot Group-Plead Her Way to Jurisdiction              29
   9
            C.   Plaintiff Cannot Impute Other Entities' Contacts to Establish
  10             Jurisdiction over MindGeek S.a. r.1                                     29
  11             1.    Plaintiff Cannot Establish Any facts to Overcome the
                       Presumption of Separateness.                                      31
  12
                       i.      MindGeek S.a r.l. and the Other MindGeek Entities
  13                           Are Typical Parent and Subsidiaries.                      32
  14
  15
                       ii. "WIseekProper
                                   S.a. r.l.'s Relationship with
                                          and in Any Event Irrelevant.                   35
                 2.    Plaintiff Cannot Establish That Failing to Disregard the
  16                   Separateness Would Result in Fraud or Injustice                   38
  17 CONCLUSION                                                                          40
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                               ii
                            MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS    Document 440-1      Filed 08/30/24   Page 4 of 52 Page
                                  ID #:11623


   1                           TABLE OF AUTHORITIES
   2                                                                             Page(s)
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   4
     Advanced Eng'g Sols. Co. v. Pers. Corner, LLC,
   5   2021 WL 1502705 (C.D. Cal. Feb. 25, 2021)                                       39
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   7   2012 WL 4747170 (N.D. Cal. Oct. 3, 2012)                                        21

   8 AMA Multimedia, LLC v. Wanat,
   9   970 F.3d 1201 (9th Cir. 2020)                                          24, 25, 26

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        94 F.3d 586 (9th Cir. 1996)                                                    30
  11
  12 B.M. v. Wyndham Hotels & Resorts, Inc.,
        2020 WL 4368214 (N.D. Cal. July 30, 2020)                                 10, 14
  13
     Barnes v. Yahoo!, Inc.,
  14
        570 F.3d 1096 (9th Cir. 2009)                                                   3
  15
     Bauman v. DaimlerChrysler Corp.,
  16    644 F.3d 909 (9th Cir. 2011)                                                   30
  17
     Bristol-Myers Squibb Co. v. Super. Ct. (BMS),
  18    582 U.S. 255 (2017)                                                      24, 25
  19 Broidy Cap. Mgmt., LLC v. Qatar,
  20    2018 WL 9943551 (C.D. Cal. Aug. 22, 2018)                                      29

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       465 U.S. 783 (1984)                                                             29
  22
  23 Callahan v. Ancestry.com Inc.,
       2021 WL 783524 (N.D. Cal. Mar. 1, 2021)                                          8
  24
     Caraccioli v. Facebook, Inc.,
  25
       700 F. App'x 588 (9th Cir. 2017)                                                 8
  26
     Carafano v. Metrosplash.com, Inc.,
  27   339 F.3d 1119 (9th Cir. 2003)                                             passim
  28
                                            iii
                           MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS    Document 440-1        Filed 08/30/24   Page 5 of 52 Page
                                  ID #:11624


   1 Chan v. Soc'y Expeditions, Inc.,
       123 F.3d 1287 (9th Cir. 1997)                                                     30
   2
   3 Corcoran v. CVS Health Corp.,
       169 F. Supp. 3d 970 (N.D. Cal. 2016)                                              31
   4
   5 Doe I v. Apple Inc.,
       2021 WL 5774224 (D.D.C. Nov. 2, 2021)                                       27, 28
   6
     Doe v. Bates,
   7   2006 WL 3813758 (E.D. Tex. Dec. 27, 2006)                                          8
   8
     Doe v. Grindr Inc.,
   9   2023 WL 9066310 (C.D. Cal. Dec. 28, 2023)                                         13
  10 Doe v. MySpace,
  11   474 F. Supp. 2d 843 (W.D. Tex. 2007)                                              21
  12 Doe v. Reddit,
  13   2021 WL 5860904 (C.D. Cal. Oct. 7, 2021)                                      8, 22

  14 Doe v. Reddit, Inc.,
       2021 WL 586094 (C.D. Cal. Oct. 7, 2021)                                       3, 21
  15
  16 Doe v. Twitter, Inc.,
       2023 WL 3220912 (9th Cir. May 3, 2023)                                      2, 8, 9
  17
     Doe v. Unocal Corp.,
  18
       248 F.3d 915 (9th Cir. 2001)                                             30, 31, 34
  19
     Doe v. WebGroup Czech Republic, A.S.,
  20   2024 WL 3533426 (C.D. Cal. July 24, 2024)                                          6
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     Does v. Reddit, Inc.,
  22   51 F.4th 1137 (9th Cir. 2022)                                               passim
  23 Dyroff v. Ultimate Software Grp., Inc.,
  24   934 F.3d 1093 (9th Cir. 2019)                                                 6, 21

  25 Fair Housing Council of San Fernando Valley v.
     Roommates. com, LLC,
  26
        521 F.3d 1157 (9th Cir. 2008)                                              passim
  27
  28

                                               iv
                           MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS    Document 440-1       Filed 08/30/24   Page 6 of 52 Page
                                  ID #:11625


   1 Fed. Agency of News LLC v. Facebook, Inc.,
        432 F. Supp. 3d 1107 (N.D. Cal. 2020)                                             4
   2
   3 Fyk v. Facebook, Inc.,
        808 F. App'x 597 (9th Cir. 2020)                                                  7
   4
   5 G.O. Am. Shipping Co., Inc. v. China COSCO Shipping Corp. Ltd.,
        2017 WL 6026959 (W.D. Wash. Dec. 5, 2017)                                        36
   6
     Glob.-Tech Appliances, Inc. v. SEB S.A.,
   7    563 U.S. 754 (2011)                                                              17
   8
     Goddard v. Google, Inc.,
   9    640 F. Supp. 2d 1193 (N.D. Cal. 2009)                                             6
  10 Gonzalez v. Google,
  11   2 F.4th 871 (9th Cir. 2021)                                                      3, 5
  12 Gonzalez v. Google, Inc.,
  13   282 F. Supp. 3d 1150 (N.D. Cal. Oct. 23, 2017)                                   4, 6

  14 Harris Rutsky & Co. Ins. Servs. v. Bell & Clements Ltd.,
        328 F.3d 1122 (9th Cir. 2003)                                          31, 32, 33
  15
  16 Holt v. Facebook, Inc.,
        240 F. Supp. 3d 1021 (N.D. Cal. 2017)                                            22
  17
     Iconlab, Inc. v. Bausch Health Cos.,
  18
         828 F. App'x 363 (9th Cir. 2020)                                         33, 39
  19
     In re Facebook, Inc.,
  20     402 F. Supp. 3d 767 (N.D. Cal. 2019)                                            19
  21
     In re Hydroxycut Marketing and Sales Practices Litig.,
  22     810 F. Supp. 2d 1100 (S.D. Cal. 2011)                                           39
  23 Indus. Bank of Korea v. ASI Corp.,
  24    2018 WL 6164315 (C.D. Cal. Apr. 26, 2018)                                        38

  25 J.B. v. G6 Hosp., LLC,
        2020 WL 4901196 (N.D. Cal. Aug. 20, 2020)                                         8
  26
  27 J.C. v. Choice Hotels Int'l, Inc.,
        2020 WL 3035794 (N.D. Cal. June 5, 2020)                                         16
  28

                                               v
                           MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS    Document 440-1        Filed 08/30/24   Page 7 of 52 Page
                                  ID #:11626


   1 Jackson v. Airbnb, Inc.,
   2    2022 WL 16753197 (C.D. Cal. Nov. 4, 2022)                                        13

   3 Johnston v. Irontown Hous. Co., Inc.,
        2014 WL 12531189 (S.D. Cal. Dec. 9, 2014)                                        31
   4
   5 Joude v. WordPress Found.,
        2014 WL 3107441 (N.D. Cal. July 3, 2014)                                          8
   6
     Kimzey v. Yelp! Inc.,
   7    836 F.3d 1263 (9th Cir. 2016)                                              3, 4, 7
   8
     Kite Shipping LLC v. San Juan Nay. Corp.,
   9    2012 WL 6720624 (S.D. Cal. Dec. 26, 2012)                                        30
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  11    628 F.2d 1175 (9th Cir. 1980)                                              33, 38
  12 L.W. through Doe v. Snap Inc.,
  13    675 F. Supp. 3d 1087 (S.D. Cal. 2023)                                       13, 14

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        1997 WL 33384309 (C.D. Cal. Mar. 19, 1997)                                       20
  15
  16 Levitt v. Yelp! Inc.,
        765 F.3d 1123 (9th Cir. 2014)                                                    10
  17
     Marshall v. United States,
  18
        2016 WL 11756786 (C.D. Cal. Jan. 4, 2016)                                        23
  19
     Morrison v. Nat'l Aus. Bank Ltd.,
  20    561 U.S. 247 (2010)                                                        27, 28
  21
     Murphy v. Am. Gen. Life Ins. Co.,
  22   74 F. Supp. 3d 1267 (C.D. Cal. 2015)                                              23
  23 Pacini v. Nationstar Mortg., LLC,
  24    2013 WL 2924441 (N.D. Cal. June 13, 2013)                                        19

  25 Payoda, Inc. v. Photon Infotech, Inc.,
        2015 WL 4593911 (N.D. Cal. July 30, 2015)                                        34
  26
  27 Pennie v. Twitter, Inc.,
        281 F. Supp. 3d 874 (N.D. Cal. 2017)                                              6
  28

                                               vi
                           MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-1     Filed 08/30/24   Page 8 of 52 Page
                                   ID #:11627


   1 Perfect 10, Inc. v. Giganews, Inc.,
   2    847 F.3d 657 (9th Cir. 2017)                                             39, 40

   3 Planet Green Cartridges, Inc. v. Amazon.com, Inc.,
        2023 WL 8943219 (C.D. Cal. Dec. 5, 2023)                                        7
   4
   5 Ponomarenko v. Shapiro,
        287 F. Supp. 3d 816 (N.D. Cal. 2018)                                           23
   6
     Ranza v. Nike, Inc.,
   7    793 F.3d 1059 (9th Cir. 2015)                                            passim
   8
     Ratha v. Phatthana Seafood Co.,
   9    2017 WL 8292922 (C.D. Cal. Dec. 21, 2017)                                      28
  10 Ratha v. Phatthana Seafood Co.,
  11    35 F.4th 1159 (9th Cir. 2022)                                            27, 28
  12 RJR Nabisco, Inc. v. Eur. Cmty.,
  13   579 U.S. 325 (2016)                                                             27

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     Officine Meccaniche Galletti-O.M.G. S.R.L.,
  15
        2014 WL 5847440 (S.D. Cal. Nov. 12, 2014)                                      39
  16
     Smartstop Self Storage Operating P 'ship L.P. v. Can-Dev, ULC,
  17    2015 WL 13322430 (C.D. Cal. Oct. 26, 2015)                                     24
  18
     Swartz v. KPMG LLP,
  19   476 F.3d 756 (9th Cir. 2007)                                                    24
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  21    217 F. Supp. 3d 1138 (C.D. Cal. 2016)                                          36

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       615 F.3d 1233 (9th Cir. 2010)                                                   21
  23
  24 UHS of Del., Inc. v. United Health Servs.,
       2015 WL 539736 (M.D. Pa. Feb. 10, 2015)                                         36
  25
     United States v. Myers,
  26
       355 F.3d 1040 (7th Cir. 2004)                                                   19
  27
  28

                                            vii
                            MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-1        Filed 08/30/24   Page 9 of 52 Page
                                   ID #:11628


   1 United States v. Ritchie,
   2   342 F.3d 903 (9th Cir. 2003)                                                       18

   3 United States v. Ruiz-Castelo,
       835 F. App'x 187 (9th Cir. 2020)                                                   17
   4
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       141 F. Supp. 3d 188 (E.D.N.Y. 2015)                                                15
   6
     United States v. Todd,
   7   627 F.3d 329 (9th Cir. 2010)                                                       16
   8
     United States v. X-Citement Video, Inc.,
   9   513 U.S. 64 (1994)                                                                 17
  10 United States v. Yousef,
  11   327 F.3d 56 (2d Cir. 2003)                                                         28
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  13   2011 WL 13217924 (C.D. Cal. June 24, 2011)                                         30

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         847 F.3d 1037 (9th Cir. 2017)                                                    22
  15
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         2007 WL 1593221 (N.D. Cal. June 1, 2007)                                         35
  17
     Y. Y.G.M. SA v. Redbubble, Inc.,
  18
         75 F.4th 995 (9th Cir. 2023)                                                     18
  19
     Yamashita v. LG Chem, Ltd.,
  20     62 F.4th 496 (9th Cir. 2023)                                               25, 26
  21
     Yeager v. Cingular Wireless LLC,
  22   673 F. Supp. 2d 1089 (E.D. Cal. 2009)                                              20
  23 Yost v. Nationstar Mortg., LLC,
  24   2013 WL 4828590 (E.D. Cal. Sept. 9, 2013)                                          29

  25 Youngevity Intl, Inc. v. Innov8Tive Nut., Inc.,
       2024 WL 838707 (9th Cir. Feb. 28, 2024)                                            33
  26
  27
  28

                                              viii
                            MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-1       Filed 08/30/24   Page 10 of 52 Page
                                    ID #:11629


    1 State Cases
    2 Cross v. Facebook, Inc.,
    3   14 Cal. App. 5th 190 (2017)                                                  20, 21

    4 Engalla v. Permanente Med. Grp., Inc.,
        15 Cal. 4th 951 (1997)                                                            22
    5
    6 Loc. TV, LLC v. Super. Ct.,
         3 Cal App. 5th 1 (2016)                                                     19, 20
    7
    8 Moreno v. Hanford Sentinel, Inc.,
         172 Cal. App. 4th 1125 (2009)                                                    19
    9
      Smart Trike v. Piermont Prods. LLC,
   10    2014 N.Y. Slip Op. 31306(U) (Sup. Ct. N.Y. Cty.)                                 37
   11
      State ex rel. Metz v. CCC Info. Servs., Inc.,
   12    149 Cal. App. 4th 402 (2007)                                                     23
   13 Taus v. Loftus,
   14   40 Cal. 4th 683 (2007)                                                            19
   15 Federal Statutes
   16
      47 U.S.C.
   17    § 230                                                                   3, 4, 8, 17
   18 18 U.S.C.
   19    § 1591                                                                     passim
         §1594                                                                           15
   20    §1595                                                                      passim
   21    § 1596                                                                      27, 28
         § 2252                                                                          17
   22    § 2255                                                                           8
   23    § 2252A                                                                     17, 19
         § 2258                                                                          19
   24
      State Statutes
   25
   26 Cal. Bus. & Prof. Code
         § 17200                                                                          22
   27    § 17500                                                                          22
   28

                                               ix
                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-1        Filed 08/30/24   Page 11 of 52 Page
                                    ID #:11630


    1 Cal. Civ. Code
         § 52.5                                                                       15, 16
    2
         § 1708.85                                                                        20
    3    § 3344                                                                    8, 19, 20
    4 Cal. Pen. Code
    5    § 236.1                                                                     15, 16

    6 Rules
    7 Fed. R. Civ. P.
    8    9(b)                                                                              22
         12(b)(2)                                                                          24
    9    12(b)(6)                                                                          13
   10
      Other Authorities
   11
      Restatement (Second) of Torts § 652C                                                 20
   12
   13
   14
   15
   16
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   18
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   22
   23
   24
   25
   26
   27
   28

                                                 x
                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 12 of 52 Page
                                     ID #:11631


    1                         SUMMARY OF THE ARGUMENT
    2        Plaintiff alleges that, when she was 16 years old, an older man whom she was
    3 dating "manipulated" her "into creating sexually explicit videos of herself," and that,
    4 "to fund their joint heroin habits," he sold those videos "on Craigslist and the Kik
    5 app." Second Amended Complaint ("SAC") ¶ 457. The man and "those to whom
    6 he sold the videos" then "regularly uploaded" them to Pornhub and other unidentified
    7 websites allegedly owned and operated by MindGeek.1 Id. ¶¶ 458-59. And this was
    8 not the first time Plaintiff had been so manipulated. Years earlier, her high school
    9 boyfriend had "coerced" and "induced" her to make "a nude, sexually explicit video"
   10 which he sought "to post . . . to Pornhub and disseminate it thereby to the school
   11 community." Id. ¶ 448. MindGeek removed the video at Plaintiff's request, but in
   12 the three to four weeks between request and removal, "it was downloaded countless
   13 times and reuploaded by different users and with different titles." Id. ¶¶ 451-52.
   14        Plaintiff then brought this action, alleging that MindGeek "transferred" both
   15 videos "to users downloading them, and to its platform," and that MindGeek "did
   16 nothing to police and report such content to authorities." Id. ¶ 462. Only 14 of the
   17 SAC's 594 paragraphs, however, allege conduct directed specifically at Plaintiff, and
   18 read closely, those paragraphs admit that MindGeek played no role in the creation,
   19 expansion or enhancement of the content filmed, titled, sold, and uploaded by
   20 Plaintiff's former boyfriends. Id. ¶¶ 448-62. As telling, the SAC's other 580
   21 paragraphs offer only pejorative conclusions about MindGeek's overarching
   22 business practices, allegedly as part of what Plaintiff brands the most "dominant,
   23 monopolistic online pornography company in the world." Id. ¶ 2. MindGeek
   24
   25 1
              Defendants MindGeek S.a. r.1, MG Freesites Ltd ("Freesites"), MindGeek
   26 USA    Incorporated, MG Premium Ltd, MG Global Entertainment Inc., and 9219-
      5618 Quebec Inc. ("9219") dispute Plaintiff's allegations that they all own or operate
   27 websites, or that they collectively have acted as impermissibly alleged in the SAC.
      Solely for the purpose of economy however, Defendants will refer to these entities
   28 in this Memorandum as "MindGeek."

                                                  1
                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 13 of 52 Page
                                     ID #:11632


    1 contests those accusations, but even if assumed to be true, they cannot overcome
    2 what the Ninth Circuit recently reaffirmed is 'broad immunity' for claims against
    3 interactive computer service providers `for publishing content provided primarily by
    4 third parties,'" Doe v. Twitter, Inc., 2023 WL 3220912, at *1 (9th Cir. May 3, 2023);
    5 an immunity which adheres even if that provider operates "a platform where it is easy
    6 to share child pornography, highlights [subcategories] that feature child pornography
    7 to sell advertising on those pages . . . and fails to remove child pornography even
    8 when users report it . . . ," Does v. Reddit, Inc., 51 F.4th 1137, 1145 (9th Cir. 2022).
    9 On that primary and preclusive ground, as well as the several substantive and
   10 jurisdictional deficiencies outlined below, all counts of the SAC should be dismissed
   11 with prejudice.
   12                                     ARGUMENT
   13 I.      PLAINTIFF'S CLAIMS ARE BARRED BY SECTION 230
   14        "Section 230 of the CDA immunizes providers of interactive computer
   15 services against liability arising from content created by third parties. . . ." Fair
   16 Housing Council of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157,
   17 1162 (9th Cir. 2008), citing 47 U.S.C. §230(c)). It embodies "a policy choice . . . not
   18 to deter harmful online speech through the separate route of imposing tort liability
   19 on companies that serve as intermediaries for other parties' potentially injurious
   20 messages." Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1123 (9th Cir. 2003)
   21 (citation omitted). Given that Congressional intent, the Ninth Circuit has made clear
   22 that close cases "must be resolved in favor of immunity . . . ," such that immunity
   23 will be lost only when "it is very clear that the website directly participates in
   24 developing the alleged illegality." Roommates, 521 F.3d at 1174. Conversely, in
   25 cases of "development [of content] by inference," the statute "must be interpreted to
   26 protect websites not merely from ultimate liability, but from having to fight costly
   27 and protracted legal battles." Id. at 1174-75.
   28

                                                  2
                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 14 of 52 Page
                                     ID #:11633


    1         It is equally well-settled that the protection conferred by section 230
    2 "precludes liability for `(1) a provider or user of an interactive computer service (2)
    3 whom a plaintiff seeks to treat . . . as a publisher or speaker (3) of information
    4 provided by another information content provider.' Gonzalez v. Google, 2 F.4th
    5 871, 891 (9th Cir. 2021), rev 'd on other grounds sub nom. Twitter, Inc. v. Taamneh,
    6 598 U.S. 471 (2023).       Plaintiff's claims against MindGeek meet each of these
    7 elements. As to the first, "the most common interactive computer services are
    8 websites." Roommates, 521 F.3d at 1162 n.6. As to the second, Plaintiff targets
    9 MindGeek's alleged "publication," i.e., "reviewing, editing, and deciding whether to
   10 publish or to withdraw from publication third-party content." Barnes v. Yahoo!, Inc.,
   11 570 F.3d 1096, 1102 (9th Cir. 2009). Specifically, "the decision to permit users to
   12 upload content to a website is a quintessential function of a publisher under § 230."
   13 Doe v. Reddit, Inc., 2021 WL 586094, at *3 (C.D. Cal. Oct. 7, 2021), aff'd sub nom.
   14 Does 1-6 v. Reddit, Inc., 51 F.4th 1137 (9th Cir. 2022). And as to the third element,
   15 Plaintiff accuses MindGeek of "'activity that can be boiled down to deciding whether
   16 to exclude material that third parties seek to post online." Barnes, 570 F.3d at 1103
   17 (quoting Roommates, 521 F.3d at 1170-71).
   18         A.    MindGeek Is Not A Content Creator
   19         Section 230 immunizes a website from liability only if the content at issue
   20 originally was "information provided by another information content provider." 47
   21 U.S.C. § 230(c)(1); see Reddit, 51 F.4th at 1141. An "information content provider,"
   22 however, is narrowly defined as one "responsible, in whole or in part, for the creation
   23 or development of information provided through the Internet or any other interactive
   24 computer service." 47 U.S.C. § 230(O(3) (emphasis added). Therefore, a website
   25 loses section 230 immunity only if it "creat[es] or develop[s]" content "by making a
   26 material contribution to [its] creation or development." Kimzey v. Yelp! Inc., 836
   27 F.3d 1263, 1269 (9th Cir. 2016). And importantly, a "material contribution" does
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 15 of 52 Page
                                     ID #:11634


    1 not refer to "merely . . . augmenting the content generally, but to materially
    2 contributing to its alleged unlawfulness." Gonzalez v. Google, Inc., 282 F. Supp. 3d
    3 1150, 1168 (N.D. Cal. Oct. 23, 2017) (citing Roommates, 521 F.3d at 1167-68)
    4 (emphasis added). Thus, a "website does not create or develop content when it
    5 merely provides a neutral means by which third parties can post information of their
    6 own independent choosing online." Kimzey, 836 F.3d at 1270 (citation omitted).
    7 Instead, the website must be shown to have taken "responsibility for what makes the
    8 displayed content [itself] illegal or actionable." Id. at 1269 n.4 (internal quotations
    9 omitted). If a website, for example, requires users to input unlawful content as a
   10 prerequisite to using its services, the website is deemed responsible for developing
   11 that content and loses section 230(c)(1) immunity. Roommates, 521 F.3d at 1169-
   12 70.
   13        But even in these limited circumstances in which a website operator "could be
   14 considered an information content provider," section 230 "still bar[s] [a plaintiff's]
   15 claims unless [the website operator] created or developed the particular [content] at
   16 issue." Carafano, 339 F.3d at 1125 (emphasis added); accord Fed. Agency of News
   17 LLC v. Facebook, Inc., 432 F. Supp. 3d 1107, 1118 (N.D. Cal. 2020) (section 230
   18 barred plaintiff's claims that Facebook "created other content," not the content at
   19 issue). Here, Plaintiff's sparse   or at times, conspicuously absent      allegations of
   20 fact effectively concede that MindGeek was not involved in the creation or
   21 development of the two videos in which her boyfriends manipulated, coerced, or
   22 induced her participation:
   23        First, MindGeek indisputably had no role in filming, producing, developing,
   24 or editing any of Plaintiff's videos. If Plaintiff was underage in the videos uploaded
   25 to Pornhub, those videos were illegal the moment they were created. Nothing
   26 MindGeek did "enhance[d]" their unlawfulness. Kimzey, 836 F.3d at 1270. Where
   27 content is "created and developed entirely by the malevolent user, without prompting
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                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 16 of 52 Page
                                     ID #:11635


    1 or help from the website operator," even where the website provided "neutral tools,
    2 which the anonymous dastard used to publish" the unlawful content, the website
    3 cannot be transformed into a creator or developer. Roommates, 521 F.3d at 1171-72
    4 (comparing the conduct in Carafano and Roommates). Any alleged failure to review
    5 the user-created content and ensure it was not illegal is "precisely the kind of activity
    6 for which Congress intended to grant absolution with the passage of section 230."
    7 Id. (discussing Carafano).
    8         Second, Plaintiff has not alleged that MindGeek encouraged, much less
    9 required, her ex-boyfriends or any third party to post any illegal content. Indeed,
   10 Plaintiff admits that MindGeek's Terms of Service prohibit the posting of children.
   11 See SAC ¶ 47. That prohibition alone distinguishes this case from Roommates and
   12 its progeny, where websites "encouraged" or "required" the posting of illegal content.
   13 521 F.3d at 1165; see Google, 2 F.4th at 895 (rejecting argument that Google was
   14 responsible for developing ISIS-related content when its "policies expressly
   15 prohibited the content at issue").
   16         Third, MindGeek's abridging of third-party videos into alleged "thumbnails"
   17 (see SAC ¶ 468) does not make it a content creator. "A website operator who edits
   18 user-created content    such as by . . . trimming for length     retains his immunity for
   19 any illegality in the user-created content, provided that the edits are unrelated to the
   20 illegality." Roommates, 521 F.3d at 1169. Creating a thumbnail is "trimming for
   21 length," and did not make the images any more unlawful than they allegedly were
   22 when posted by the user-creators.
   23         Fourth, MindGeek does not create content simply by "maintaining a search
   24 and tagging system" and enabling "playlists, titles, tags, [or] buttons" that direct
   25 viewers to various types of content. SAC ¶ 468. "[P]roviding neutral tools to carry
   26 out what may be unlawful or illicit searches does not amount to `development' for
   27 purposes of the immunity exception." Roommates, 521 F.3d at 1169. That is so even
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 17 of 52 Page
                                      ID #:11636


    1 when a "a particular tool facilitate[s] the expression of information" and the "service
    2 provider knows that third parties are using such tools to create illegal content."
    3 Goddard v. Google, Inc., 640 F. Supp. 2d 1193, 1197-98 (N.D. Cal. 2009) (emphasis
    4 in original) (internal quotations omitted). Indeed, the descriptors that MindGeek
    5 offers to content creators are identical to the "titles, tags, keywords, search terms, and
    6 categories"    all of which allegedly were "indicative of CSAM"        that the defendants
    7 allegedly made available to users in Doe v. WebGroup Czech Republic, A.S., 2024
    8 WL 3533426, at *8 (C.D. Cal. July 24, 2024). Yet the District Court in WebGroup
    9 still applied section 230 to preclude claims based on these allegations because such
   10 tools are "either a standard publishing function or a neutral tool made available to all
   11 third parties seeking to upload material onto Defendants' websites." Id. Plaintiff
   12 "cannot plead around section 230 immunity by framing these website features as
   13 content." Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093, 1098 (9th Cir.
   14 2019). Thus, in circumstances such as those alleged here, MindGeek's "promoting
   15 [of] the use of [neutral] tools for unlawful purposes . . . is fully protected by CDA
   16 immunity." Roommates, 521 F.3d at 1174 n.37.
   17         Fifth, MindGeek does not create content by allegedly displaying videos of
   18 Plaintiff "alongside advertisements that MindGeek had placed." SAC ¶ 450. A
   19 service provider's use of a targeted ad algorithm is protected when there are no facts
   20 that would "suggest that [the] ad algorithm is anything but content neutral." See
   21 Gonzalez, 282 F. Supp. 3d at 1168-70. Plaintiff acknowledges that MindGeek
   22 displays advertisements based solely on algorithms that analyze data generated solely
   23 by users. SAC ¶¶ 88, 90. Any claim premised on this user-generated placement of
   24 advertising is therefore barred by section 230. See Pennie v. Twitter, Inc., 281 F.
   25 Supp. 3d 874, 890 (N.D. Cal. 2017) (section 230 barred claim premised on Twitter's
   26 use of targeted ads that were allegedly "based on what is known about the viewer and
   27 what the viewer is looking at").
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 18 of 52 Page
                                      ID #:11637


    1         Sixth, Plaintiff's allegation that MindGeek "reupload[s]" (SAC ¶ 468) some
    2 content from Pornhub to its other websites does not make it a content creator. That
    3 is because "republishing or disseminating third party content in essentially the same
    4 format does not equal creation or development of content." Fyk v. Facebook, Inc.,
    5 808 F. App'x 597, 598 (9th Cir. 2020) (internal quotation marks omitted). Such
    6 "neutral and generic actions, even if they spread the reach of some of the offending
    7 material, do not defeat Section 230 immunity." Planet Green Cartridges, Inc. v.
    8 Amazon.com, Inc., 2023 WL 8943219, at *6 (C.D. Cal. Dec. 5, 2023); cf. SAC ¶ 468
    9 (alleging MindGeek reuploads "all effective content" to other MindGeek sites).2
   10         Finally, while the SAC is rife with allegations about MindGeek creating
   11 content other than the videos depicting Plaintiff, see, e.g., SAC ¶¶ 80-100, 158-85,
   12 and about that non-Plaintiff content's alleged relationship with "traffickers," see, e.g.,
   13 id. ¶ 468, none of those allegations are relevant; the only question of legal
   14 consequence is whether MindGeek "created or developed the particular [content] at
   15 issue," i.e., the videos procured, created, and uploaded by Plaintiff's boyfriends and
   16 others to whom the videos were sold, Carafano, 339 F.3d at 1125 (emphasis added).
   17         In sum, though her complaint has been twice amended, Plaintiff still offers no
   18 facts to fill these fatal gaps in her core theory of liability. Though she presumes that
   19 MindGeek "went far beyond the neutral provision of a platform to post content," she
   20 then points only to alleged "messaging" which MindGeek sought only "to add to the
   21
   22   2
              Plaintiff's further contention that MindGeek "falsely portrayed" this content
   23   "as posted by a user other than MindGeek" is implausible on its face. See SAC ¶ 468.
        In Kimzey v. Yelp! Inc., the plaintiff claimed that the defendant "adopted" content
   24   from another website, "transformed" it "into its own stylized promotions" and
        reposted it under the aegis of a third party. 836 F.3d at 1268. The Court found it had
   25   "no trouble . . . concluding that threadbare allegations of fabrication of statements
        are implausible on their face and are insufficient to avoid immunity under the CDA."
   26   Id. "Were it otherwise, CDA immunity could be avoided simply by reciting a
        common line that user-generated statements are not what they say they are." Id. at
   27   1268-69. Plaintiff's allegations of subterfuge are an attempt at the same
        circumvention expressly rejected in Kimzey. Compare SAC ¶ 468, with Kimzey 836
   28   F.3d at 1263.

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 19 of 52 Page
                                      ID #:11638


    1 user 's particular type of image content," and even then, MindGeek allegedly did so
    2 only to "enhance its viewership"       not to enhance the originally uploaded videos'
    3 content. SAC ¶ 5. Given this conceded and crucial distinction, MindGeek is not the
    4 "creator" of the videos at issue. Plaintiff's claims are therefore barred by section
    5 230(c)(1).3
    6         B.    On the Facts Alleged, FOSTA's Exception Does Not Apply
    7         The Fight Online Sex Trafficking Act ("FOSTA") offers a narrow exception
    8 to section 230 immunity by providing, "Nothing in [§ 230] . . . shall be construed to
    9 impair or limit . . . any claim in a civil action brought under section 1595 of title 18
   10 . . . if the conduct underlying the claim constitutes a violation of section 1591 of that
   11 title." 47 U.S.C. § 230(e)(5)(A) (emphasis added). But on the facts alleged, Plaintiff
   12 cannot invoke FOSTA's exception to salvage her Count I for alleged violation of the
   13 federal criminal sex trafficking statute, 18 U.S.C. §§ 1591, 1595. As the Ninth
   14 Circuit recently required, "a website's own conduct must violate 18 U.S.C. § 1591
   15 for the immunity exception to apply." Reddit, 51 F.4th at 1143 (emphasis added).4
   16 Two provisions of section 1591 are relevant here, but measured against the Reddit
   17 panel's "own conduct" standard, Plaintiff fails to allege that MindGeek violated
   18 either provision.
   19
      3      See Carafano, 339 F.3d at 1125 (section 230 barred invasion-of-privacy
   20 claim); Caraccioli v. Facebook, Inc., 700 F. App'x 588, 590 (9th Cir. 2017) (section
      230 barred claims for public disclosure of private facts, intrusion upon seclusion, and
   21 false light); Joude v. WordPress Found., 2014 WL 3107441, at *6-(N.D. Cal. July 3,
      2014) (section 230 barred claim for common-law misappropriation of likeness);
   22 Callahan v. Ancestry.com Inc., 2021 WL 783524, at 1 (\I.D. Cal. Mar. 1, 2021)
      (section 230 barred claim under Cal. Civ. Code § 3344 for misappropriation of
   23 likeness); Doe v. Reddit, 2021 WL 5860904, at *9 (C.D. Cal. Oct. 7, 2021) (section
      230 barred claims for violation of Cal. Civ. Code § 1708.85, 18 U.S.C. §§ 1591,
   24 1595, and 18 U.S.C. §§ 2252A, 2255); Twitter, 2023 WL 3220912, at *2 (similar);
      J.B. v. G6 Hosp., LLC, 2020 WL 4901196, at *7 (N.D. Cal. Aug. 20, 2020) (similar);
   25 Doe v. Bates, 2006 WL 3813758, at *18-20 (E.D. Tex. Dec. 27, 2006) (similar).
   26 4       The Ninth Circuit also acknowledged that the limitations of FOSTA allow
      "only a limited capacity to accomplish its original goal of allowing trafficking victims
   27 to hold websites accountable." Id. at 1145. "However, this is a flaw, or perhaps a
      feature, that Congress wrote into the statute, and is not one we can rewrite by judicial
   28 fiat." Id.

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24    Page 20 of 52 Page
                                      ID #:11639


    1               1.     Plaintiff Has Not Alleged That MindGeek Violated Section
                           1591(a)(1)
    2
    3        Section 1591(a)(1) ("direct liability") imposes criminal liability on anyone
    4 who "knowingly . . . recruits, entices, harbors, transports, provides, obtains,
    5 advertises, maintains, patronizes, or solicits by any means a person . . . knowing . . .
    6 that the person has not attained the age of 18 years and will be caused to engage in a
    7 commercial sex act." 18 U.S.C. § 1591(a)(1). A "commercial sex act" is "any sex
    8 act, on account of which anything of value is given to or received by any person."
    9 Id. § 1591(e)(3).    The SAC offers not a single fact suggesting that MindGeek
   10 "recruited,   enticed,    harbored,   transported,     provided,    obtained,   advertised,
   11 maintained, patronized, or solicited" Plaintiff, or in any other way "caused" her "to
   12 engage in a commercial sex act." See id. § 1591(a)(1).               To the contrary, she
   13 specifically alleges that her ex-boyfriends coerced, induced, or manipulated her to
   14 make illegal pornographic videos, that one of them posted her video on a MindGeek
   15 site (SAC ¶ 448), that another sold her videos on two online platforms other than
   16 MindGeek's, and that some unidentified party or parties then uploaded some of those
   17 videos to a MindGeek site (SAC ¶¶ 457-58). But again, those parties' allegedly
   18 unlawful conduct cannot be imputed to MindGeek: "[A] website's own conduct must
   19 violate 18 U.S.C. § 1591 for the immunity exception to apply" See Reddit, 51 F.4th
   20 at 1143).
   21        Further, MindGeek's alleged conduct was confined to uploaded depictions of
   22 Plaintiff; MindGeek took no actions upon the person of Plaintiff herself. See SAC
   23 ¶ 467; see also SAC ¶¶ 468-69. Plaintiff's own allegations implicitly concede that
   24 she is unable to prove that MindGeek acted upon her person: she alleges only that
   25 MindGeek "recruit[ed], entice[d], harbor[ed], transport[ed], provide[d], obtain[ed],
   26 advertise[d], maintain[ed], patronize[d], or solicit[ed] videos and images depicting
   27 CSAM." Id. ¶ 467 (emphasis added).           Such conduct, even if proven, does not
   28 constitute direct sex trafficking. See, e.g., Twitter, 2023 WL 3220912, at *2 ("[T]he

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS        Document 440-1        Filed 08/30/24   Page 21 of 52 Page
                                       ID #:11640


    1 district court correctly concluded that Twitter's alleged conduct relates only to
    2 CSAM depicting Plaintiffs, not to their persons (as required to implicate a direct
    3 violation of the TVPRA).").         Plaintiff has therefore not alleged that MindGeek
    4 violated section 1591(a)(1), and this Court should not credit Plaintiff's attempt to
    5 rewrite that section to include "recruit[ing]" or "entic[ing]" video content.
    6                 2.   Plaintiff Has Not Alleged That MindGeek Violated Section
                           1591(a)(2)
    7
                Section 1591(a)(2) ("beneficiary liability") imposes criminal liability on
    8
        anyone who "knowingly . . . benefits, financially or by receiving anything of value,
    9
        from participation in a venture which has engaged in an act described in violation of
   10
        [§ 1591(a)(1)]." 18 U.S.C. § 1591(a)(2). "`[P]articipation in a venture' means
   11
        knowingly assisting, supporting, or facilitating a violation of [section 1591(a)(1)]."
   12
        Id. § 1591(e)(4).    Importantly, then, a violation of section 1591(a)(2) requires
   13
        knowing participation in a trafficking venture involving a particular victim. B.M. v.
   14
        Wyndham Hotels & Resorts, Inc., 2020 WL 4368214, at *5 (N.D. Cal. July 30, 2020)
   15
        (complaint dismissed as "devoid of any facts linking these Defendants (Wyndham
   16
        and Choice) to the sex trafficking of this Plaintiff (B.M.)"); cf. Levitt v. Yelp! Inc.,
   17
        765 F.3d 1123, 1135-36 (9th Cir. 2014) (dismissing claim for failure to "connect[]
   18
        general allegations to the specific [content] complained of'). Moreover, as to that
   19
        particular victim, "the defendant must have actually `engaged in some aspect of the
   20
        sex trafficking.' Reddit, 51 F.4th at 1145 (emphasis added). "In a sex trafficking
   21
        beneficiary suit against a defendant-website, the most important component is the
   22
        defendant-website's own conduct       its `participation in the venture.'" Id. at 1142.
   23
        "A complaint against a website that merely alleges trafficking by the website's
   24
        users    without the participation of the website     would not survive." Id.
   25
                The facts of Reddit are particularly instructive. Plaintiffs were the parents of
   26
        minors who alleged that Reddit hosted "small, searchable forums" (called
   27
        "subreddits") that "openly and explicitly marketed themselves as fora for child
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                                MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1          Filed 08/30/24    Page 22 of 52 Page
                                     ID #:11641


    1 pornography, with names like /r/BestofYoungNSFW, r/teensdirtie, /r/TeenBeauties,
    2 and /r/YoungGirlsGoneWild." Id. at 1139. Plaintiffs alleged that, "after discovering
    3 explicit images or videos of their children (or themselves) posted to one or more
    4 subreddits, they immediately reported the content to the subreddit moderators and to
    5 Reddit employees." Id. "In response, Reddit sometimes                  though not always
    6 removed the content, only for it to be reposted shortly afterward." Id. "This cycle
    7 repeated again and again across different subreddits." Id. "Collectively, the plaintiffs
    8 contacted Reddit hundreds of times to report the explicit posts." Id. Plaintiffs further
    9 alleged that the "presence of child pornography on Reddit is blatant, but Reddit has
   10 done little to remove the unlawful content or prevent it from being posted, because it
   11 drives user traffic and revenue." Id. According to those plaintiffs, "Reddit earns
   12 substantial advertising revenue from subreddits that feature child pornography
   13 because they generate controversy and attract viewers," and advertisers are
   14 "encourage[d]" "to buy ad space" on pages dedicated to child pornography because
   15 those pages are some of the most popular. Id. at 1139-40. Further still, plaintiffs
   16 maintained that "Reddit financially benefits from openly hosting child pornography."
   17 Id. at 1140. Finally, plaintiffs claimed that Reddit did not adequately train its
   18 moderators to screen and remove unlawful content and that "some moderators post
   19 child pornography themselves." Id. at 1140. Plaintiffs therefore brought claims
   20 under 18 U.S.C. §§ 1591(a)(2) and 1595, "claiming that Reddit is liable as a
   21 beneficiary of child sex trafficking." Id.
   22         The Reddit panel confirmed that even these fulsome allegations failed to show
   23 that the subject website had violated § 1591(a)(2).                At most, the allegations
   24 "suggest[ed] only that Reddit `turned a blind eye' to the unlawful content posted on
   25 its platform, not that it actively participated in sex trafficking." Id. at 1145.
   26 Moreover, "the plaintiffs ha[d] not alleged a connection between the child
   27 pornography posted on Reddit and the revenue Reddit generates, other than the fact
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1       Filed 08/30/24    Page 23 of 52 Page
                                     ID #:11642


    1 that Reddit makes money from advertising on all popular subreddits." Id. at 1145-
    2 46. On these facts, the Ninth Circuit concluded, it is not enough if a website merely
    3 "provides a platform where it is easy to share child pornography" or "fails to remove
    4 child pornography even when users report it," because "[t]he statute does not target
    5 those that merely `turn a blind eye to the source of their [revenue]. '" Id. at 1145
    6 (emphasis added).
    7        Here, the SAC's flawed allegations substantively match those deemed
    8 deficient in Reddit. As in Reddit, Plaintiff alleges that MindGeek "enabl[ed] videos
    9 to be uploaded to its tubesites without proper verification and moderation," (SAC
   10 ¶ 468), in order to "maximize revenues" (SAC ¶ 79) despite the fact that they "knew
   11 or should have known that their tubesites were rife with CSAM, abuse, rape,
   12 trafficked and other nonconsensual content" (SAC ¶ 471); cf. Reddit, 51 F.4th at 1139
   13 ("The plaintiffs allege that the presence of child pornography on Reddit is blatant,
   14 but Reddit has done little to remove the unlawful content or prevent it from being
   15 posted, because it drives user traffic and revenue."). As in Reddit, Plaintiff alleges
   16 that MindGeek "profits from subscriptions and almost three billion ad impressions
   17 each day, much of which is attributable to CSAM and other illegal content." SAC
   18 ¶ 470; cf. Reddit, 51 F.4th at 1139 ("Plaintiffs allege that Reddit earns substantial
   19 advertising revenue from subreddits that feature child pornography."). As in Reddit,
   20 Plaintiff alleges that MindGeek was slow to act in removing explicit videos of her
   21 from its sites after they were reported. SAC ¶¶ 451, 453, 515; cf. Reddit, 51 F.4th at
   22 1139 (noting that Reddit had the ability to remove "entire" subreddits with offending
   23 conduct but "Reddit sometimes        though not always          removed the content" of
   24 which the plaintiffs complained). And as in Reddit, Plaintiff alleges that MindGeek
   25 failed to "adopt verification and modification techniques" which could have
   26 prevented the uploading of Plaintiffs videos. SAC ¶ 471(e); cf. Reddit, 51 F.4th at
   27 1140 ("Reddit ha[d] not implemented basic security measures, such as age
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                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS        Document 440-1        Filed 08/30/24   Page 24 of 52 Page
                                       ID #:11643


    1 verification or IP-address tracking to ban repeat offenders, and it delayed adoption
    2 of automated image-recognition technologies like `PhotoDNA,' which can detect
    3 child pornography and prevent it from being posted.").
    4           MindGeek strongly disputes each of Plaintiff's allegations, but even if
    5 indulged at the Rule 12(b)(6) stage, they fail to show that MindGeek "engaged in
    6 some aspect of [any] sex trafficking." Id. at 1145 (internal quotations omitted). At
    7 most, the allegations suggest that MindGeek did not do enough to "police and report
    8 such content to authorities." SAC ¶¶ 462, 471. But again, "turn[ing] a blind eye" to
    9 content is not "active[] participat[ion] in sex trafficking." Reddit, 51 F.4th at 1145;
   10 see also L. W. through Doe v. Snap Inc., 675 F. Supp. 3d 1087, 1100 (S.D. Cal. 2023)
   11 ("[Flailing to efficiently monitor or police user-generated content is not punishable
   12 under Section 1591."); Jackson v. Airbnb, Inc., 2022 WL 16753197, at *2 (C.D. Cal.
   13 Nov. 4, 2022) ("The accusation here is fundamentally that Snap should have
   14 monitored and curbed third-party content . . . . This is exactly the sort of case for
   15 which Section 230 provides an impenetrable shield." (emphasis added)).5
   16           Plaintiffs ancillary theories, purporting to substantiate her allegation that
   17 MindGeek engaged in sex trafficking by somehow "target[ing]" Plaintiff, fare no
   18 better.     SAC ¶ 468.     She claims, for example, that MindGeek engaged in sex
   19 trafficking by "monetizing" her content, SAC ¶¶ 468(q)-(s), but just as in Reddit, she
   20 fails to allege "a connection between the child pornography posted on [MindGeek]
   21 and the revenue [MindGeek] generates, other than the fact that [MindGeek] makes
   22 money from advertising" generally. Reddit, 51 F.4th at 1145; see also Doe v. Grindr
   23 Inc., 2023 WL 9066310, at *7 (C.D. Cal. Dec. 28, 2023) ("[T]hat [Grindr] derived
   24
        5
   25         By illustrative contrast, plaintiffs who have alleged beneficiary liability for sex
      trafficking "have charged defendants with far more active forms of participation"
   26 such as "lur[ing] victims `through the promise of . . . deals,' provid[ing] [the
      perpetrator with] `medications he required to perform sexual acts, and `clean[mg]
   27 up  after his sexual assaults.'" Reddit, 51 F.4th at 1145 (quoting Canosa v. Ziff, 201-9
      WL 498865, at *23-24 (S.D.N.Y. Jan. 28, 2019)). No such allegations are even
   28 hinted at here.

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1       Filed 08/30/24   Page 25 of 52 Page
                                      ID #:11644


    1 revenue `from all users through the sale of ads' . . . does not establish that Grindr
    2 violated § 1591"). She further claims that MindGeek engaged in sex trafficking by
    3 providing neutral tools to users and advertisers, such as by offering "thumbnails" of
    4 users' uploaded videos, or by adding users' videos to certain playlists. SAC ¶ 468.
    5 But these activities, even as alleged, added nothing to the illegal content of the
    6 original videos; instead, all of the alleged activities were simply "intertwined with
    7 Defendants' publishing activities." Snap Inc., 675 F. Supp. 3d at 1100. As such,
    8 they suggest at most that MindGeek "provides a platform where it is easy to share
    9 child pornography." Reddit, 51 F.4th at 1145. But as demonstrated supra, providing
   10 such a platform does not make MindGeek a content creator.
   11         Finally, Plaintiff's theories consistently fail to allege any connection between
   12 MindGeek's purported conduct and the specific trafficking of Plaintiff. She nowhere
   13 alleges that MindGeek "commission[ed], produc[ed], or b[ought]" her videos. Cf.
   14 SAC ¶ 468(a). And though she broadly accuses MindGeek of providing unspecified
   15 "guidance" and "services" to an ostensibly "global network of sex traffickers," SAC
   16 ¶ 468(1)-(m), none of her allegations connects MindGeek's conduct to the actual
   17 trafficking of the person of Plaintiff    another singly fatal flaw in her claims. See
   18 B.M., 2020 WL 4368214, at *5 (dismissing complaint "devoid of facts" linking
   19 defendants to the trafficking of the plaintiff).
   20 II.     EVEN IF NOT BARRED BY § 230, PLAINTIFF'S CLAIMS
              INDEPENDENTLY FAIL
   21
              A.    Plaintiff's Counts I, IV, and XV Fail to State Claims for Violation
   22               of Either Federal or State Sex-Trafficking Laws
   23         Under 18 U.S.C. § 1595(a), "[a]n individual who is a victim of a violation of
   24 this chapter [i.e., Chapter 77] may bring a civil action against the perpetrator (or
   25 whoever knowingly benefits, or attempts or conspires to benefit, financially or by
   26 receiving anything of value from participation in a venture which that person knew
   27 or should have known has engaged in an act in violation of this chapter)." Likewise,
   28

                                                 14
                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1         Filed 08/30/24   Page 26 of 52 Page
                                      ID #:11645


    1 Cal. Civ. Code § 52.5 creates a civil cause of action for victims of sex trafficking
    2 under Cal. Pen. Code § 236.1. Plaintiff has failed to state a claim under either
    3 provision. As demonstrated supra at Section I.B and further explained below,
    4 Plaintiff has failed to allege facts showing that she was a victim of a violation of
    5 federal section 1591, the statute upon which her sex-trafficking claims rely, and has
    6 likewise failed to allege that MindGeek knowingly benefitted from participating in a
    7 venture that it knew or should have known had committed such a violation
    8 specifically as to Plaintiff Nor has she sufficiently made those allegations in the
    9 context of her companion state-law claims. On these additional grounds, Counts I,
   10 IV, and XV of the SAC must be dismissed.
   11                1.   Plaintiff Has Not Sufficiently Alleged a Violation by
   12                     MindGeek of the Federal Sex-Trafficking Laws (18 U.S.C. §§
                          1591, 1594, 1595)
   13         Section 1591 criminalizes child sex trafficking: "Whoever knowingly . . . in
   14 or affecting interstate or foreign commerce . . . recruits, entices, harbors, transports,
   15 provides, obtains, advertises, maintains, patronizes, or solicits by any means a person
   16 . . . knowing . . . that the person has not attained the age of 18 years and will be caused
   17 to engage in a commercial sex act, shall be punished as provided in subsection (b)."
   18 18 U.S.C. § 1591(a).        The statute's animating purpose arose from Congress's
   19 concerns that "[v]ictims are often forced through physical violence to engage in sex
   20 acts or perform slavery-like labor," P.L. 106-386, at § 102(b)(6), and that "victims
   21 were being lured `away from family and friends, religious institutions, and other
   22 sources of protection and support,'" United States v. Thompson, 141 F. Supp. 3d 188,
   23 199 (E.D.N.Y. 2015) (quoting P.L. 106-386, at § 102(b)(5)).
   24         Against this backdrop, section 1591 must be read to "aim at those targets," not
   25 to apply broadly to "a wide range of social, familial, charitable, and other
   26 relationships." Id. In the words of the Ninth Circuit, "[t]he statute focuses on those
   27 . . . who make money out of selling the sexual services of human beings . . . [whom]
   28

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS        Document 440-1        Filed 08/30/24   Page 27 of 52 Page
                                       ID #:11646


    1 they control and treat as their profit-producing property." United States v. Todd, 627
    2 F.3d 329, 330-31 (9th Cir. 2010) (emphasis added). Yet, as demonstrated in Section
    3 I.B, supra, Plaintiff has wholly failed to plead facts showing that MindGeek
    4 committed any such acts in violation of section 1591. Plaintiff has not alleged facts
    5 sufficient to establish that she was ever "sold" for "sexual services," much less that
    6 she was "forced," "lured," "controlled," or otherwise trafficked by MindGeek, nor
    7 has she alleged that MindGeek "cause[d]" her "to engage in a commercial sex act."
    8 18 U.S.C. § 1591(a)(1)-(2). And she has not alleged a single fact to show that MindGeek
    9 "knowingly" benefitted from participating in a venture with Plaintiffs ex-boyfriends.
   10 Supra at Section I.B.2. Instead, Plaintiffs allegations amount to no more than, at best,
   11 MindGeek's turning of a blind eye         a quantum of nonfeasance which falls short of
   12 pleading a violation by MindGeek of section 1591. See Reddit, 51 F.4th at 1145.
   13                2.    Plaintiff's Count XV Equally Fails to State a Claim under
   14                      Cal. Civ. Code § 52.5
              California law provides that, "[a] person who causes, induces, or persuades, or
   15
        attempts to cause, induce or persuade, a person who is a minor at the time of
   16
        commission of the offense to engage in a commercial sex act, with the intent to effect
   17
        or maintain a violation of Section . . . 311.1 . . . is guilty of human trafficking." Cal.
   18
        Pen. Code § 236.1(c) (emphasis added); Cal Civ. Code § 52.5(a) (creating a private
   19
        cause of action for victims under Cal. Pen. Code § 236.1(c)). Plaintiff has not alleged
   20
        any facts to establish that MindGeek ever "caused," "induced," or "persuaded" her to
   21
        engage in a commercial sex act, let alone "with the intent" of committing further
   22
        crimes. See J. C. v. Choice Hotels Int'l, Inc., 2020 WL 3035794, at *2 (N.D. Cal. June
   23
        5, 2020) (dismissing claim because courts "interpreting [Cal. Civ. Code § 52.5] have
   24
        required plaintiffs to plausibly allege intent at the pleading stage"). Indeed, Plaintiff
   25
        specifies that it was her high school boyfriend who "induced" or "coerced her to
   26
        make" the first video, and that an "older man" whom she was dating "manipulated"
   27
        her "into creating" the second video. SAC ¶¶ 448, 457. Plaintiff had no contact
   28

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS        Document 440-1         Filed 08/30/24   Page 28 of 52 Page
                                       ID #:11647


    1 whatsoever with MindGeek until she asked MindGeek to remove the videos, which it
    2 did. Id. ¶¶ 451, 453. Plaintiff's state trafficking claim therefore fails on this additional
    3 ground.
    4         B.     Plaintiff's Counts V and VI Fail to State a Claim for Receipt,
                     Transport, or Distribution of Child Pornography (18 U.S.C. §§
    5                2252, 2252A, 2255)
    6         In addition to being barred by section 230(c)(1), Plaintiff's claim under 18
    7 U.S.C. § 2252A must be dismissed for its inherent substantive deficiencies. To
    8 establish liability under section 2252A, a plaintiff must prove the defendant
    9 "knowingly receive[d] or distribute[d]" child pornography in interstate or foreign
   10 commerce "by any means including by computer." 18 U.S.C. § 2252A. This section
   11 requires that a defendant have actual knowledge as to "the age of the performers"; mere
   12 inadvertence or negligence is insufficient. United States v. X-Citement Video, Inc., 513
   13 U.S. 64, 78 (1994); see United States v. Ruiz-Castelo, 835 F. App'x 187, 189 (9th Cir.
   14 2020) (government was required to prove defendant's "knowledge that the video contained
   15 sexually explicit conduct with a minor").
   16         Actual knowledge can be established based on willful blindness, but that is a
   17 demanding standard. Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769
   18 (2011) ("[A] willfully blind defendant is one who takes deliberate action to avoid
   19 confirming a high probability of wrongdoing and who can almost be said to have
   20 actually known the critical facts." (emphasis added)).              In contrast, "a reckless
   21 defendant is one who merely knows of a substantial and unjustified risk of such
   22 wrongdoing, and a negligent defendant is one who should have known of a similar
   23 risk but, in fact, did not." Id. at 770 (internal citation omitted). Mindful of these
   24 distinctions, the Ninth Circuit has rejected the argument that "general awareness" of
   25 illegal activity on a website establishes the website operator's willful blindness of specific
   26 illegal activity. For example, in the context of trademark infringement, the Ninth Circuit
   27 has emphasized that "willful blindness requires the defendant to be aware of the specific
   28

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                                MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 29 of 52 Page
                                      ID #:11648


    1 instances of infringement or specific infringers." Y. Y.G.M. SA v. Redbubble, Inc., 75
    2 F.4th 995, 1002 (9th Cir. 2023). "General knowledge of infringement on the defendant's
    3 platform . . . is not enough to show willful blindness." Id.
    4         Applying that specific-awareness requirement here, Plaintiff must allege facts
    5 establishing that MindGeek had actual knowledge of or was willfully blind to           i.e.,
    6 took deliberate action to avoid confirming         the fact that Plaintiff was underage in
    7 the videos. But she has failed to plead any facts sufficient to meet those standards.
    8 Instead, Plaintiff baldly concludes that "MindGeek personnel. . . were aware . . . that
    9 she was underage" because that purportedly was "apparent from the image itself' and
   10 from the videos' titles and user comments and tags. SAC ¶¶ 448-49, 458. But she
   11 offers no well-pled facts to show either that MindGeek knew there was a "high
   12 probability" that the videos depicted a minor, or that MindGeek then took "deliberate
   13 action" to avoid "confirming" that the videos depicted a minor. To the contrary,
   14 Plaintiff admits that: MindGeek's Terms of Service ("TOS")6 required that any users
   15 were at least 18 years old, SAC ¶¶ 46, 70; MindGeek employees regularly performed
   16 content-moderation functions (though Plaintiff impugns their effectiveness), id. ¶ 67;
   17 and, once she reported to MindGeek "that the video was child pornography,"
   18 MindGeek consistently took it down, SAC ¶¶ 451, 453.
   19         Finally, Plaintiff cannot establish that MindGeek was willfully blind to the fact
   20 that she was underage simply by alleging that MindGeek was generally aware that some
   21 other content illegally uploaded to its sites was child pornography. See Redbubble, 75
   22 F.4th at 1002 ("General knowledge of infringement on the defendant's platform . . . is
   23 not enough."). Congress has made clear that website operators like MindGeek have
   24 no duty to "affirmatively search, screen or scan for" apparent CSAM. 18 U.S.C.
   25
   26   6
            This Court may treat the TOS as incorporated by reference and thus "part of
   27 the complaint . . . and may assume that its contents are true" without converting this
      motion to one for summary judgment, because the SAC "refers extensively to the
   28 document." United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 30 of 52 Page
                                      ID #:11649


    1 § 2258A(f)(3).      And persons, including MindGeek, "who seek[] out only adult
    2 pornography, but without [their] knowledge [are] sent a mix of adult and child
    3 pornography" do not violate 18 U.S.C. § 2252A. United States v. Myers, 355 F.3d 1040,
    4 1042 (7th Cir. 2004). On all of these grounds, Plaintiff's section 2252A claim must be
    5 dismissed.
    6         C.     Plaintiff's Remaining Claims Do Not Meet the Respective Pleading
                     Requirements.
    7
                     1.     Because MindGeek Is Not the Publisher of the Videos,
    8                       Plaintiff's Intentional Tort Claims Fail.
    9         Plaintiffs' claims for public disclosure of private facts, intrusion into private
   10 affairs, false light, common law and statutory misappropriation of likeness, and Cal.
   11 Civ. Code § 1708.85 all fail because MindGeek was not the publisher of the videos
   12 depicting plaintiff. SAC at Counts VII-XII. All of these claims require that the
   13 injury-inflicting conduct must be intentionally committed by the defendant. In re
   14 Facebook, Inc., 402 F. Supp. 3d 767, 796 (N.D. Cal. 2019) (for a public-disclosure
   15 claim "to give rise to liability, the following must occur: (i) the defendant must
   16 disclose a private fact about the plaintiff . . . ." (emphasis added));' Taus v. Loftus,
   17 40 Cal. 4th 683, 724 (2007) (intrusion upon private affairs requires an intentional
   18 intrusion by the defendant); Pacini v. Nationstar Mortg., LLC, 2013 WL 2924441, at
   19 *9 (N.D. Cal. June 13, 2013) (to state a false-light claim, the plaintiff must plead that
   20 "the defendant caused to be generated publicity of the plaintiff that was false or
   21 misleading") (emphasis added); Loc. TV, LLC v. Super. Ct., 3 Cal App. 5th 1, 8, 13
   22 (2016) (to state a common law claim for unauthorized use of likeness and under Cal.
   23 Civ. Code § 3344, the plaintiff must allege "the defendant's use of the plaintiff's
   24
               The public disclosure claim also fails because "[a] matter that is already public
   25   or that has previously become part of the public domain is not private." Moreno v.
        Hanford Sentinel, Inc., 172 Cal. App. 4th 1125, 1130-31 (2009) (holding the trial
   26   court properly sustained a demurrer to an invasion of privacy .cause of action where
        the facts at issue were published on myspace.com). Accordingly, Plaintiff cannot
   27   maintain a claim against MindGeek based on the second video because it was sold
        on Craigslist and Kik and therefore was already public when posted to Pornhub.
   28   SAC ¶ 457.

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS        Document 440-1      Filed 08/30/24    Page 31 of 52 Page
                                       ID #:11650


    1 identity" (emphasis added)); Cal. Civ. Code § 1708.85(a), (c)(6) (requiring the
    2 defendant "intentionally distribute" materials and prohibiting liability where "[t]he
    3 distributed material was previously distributed by another person").
    4         Distributing sexually explicit videos obtained from an unrelated third party
    5 does not constitute an intrusion. See Lee v. Penthouse Intl, Ltd., 1997 WL 33384309,
    6 *6-7 (C.D. Cal. Mar. 19, 1997) ("Prior publication of the photographs takes them out
    7 of the realm of private facts."). Plaintiff alleges her then-boyfriends or unidentified
    8 third parties published the videos in the first instance, not MindGeek. See SAC
    9 ¶¶ 448, 457-58. Thus, all of these claims are subject to dismissal because they seek
   10 to hold MindGeek liable for third-party content which it did not originally disclose,
   11 post, sell, or otherwise publish.
   12                2.     Plaintiff's Misappropriation of Likeness Claims (Cal. Civ.
                            Code § 3344) Fail for Additional Reasons.
   13
   14         To allege a viable claim for misappropriation under California Civil Code
   15 § 3344, Plaintiff must allege, among other elements, "a knowing use by the defendant
   16 as well as a direct connection between the alleged use and the commercial purpose."
   17 Loc. TV, 3 Cal App. 5th at 13 (internal quotation and citation omitted); Cal Civ. Code
   18 § 3344(a); see RESTATEMENT (SECOND) OF TORTS § 652C cmt. c, d; Yeager v. Cingular
   19 Wireless LLC, 673 F. Supp. 2d 1089, 1100 (E.D. Cal. 2009). Importantly, a defendant
   20 does not actionably "use" a plaintiff's likeness merely by "display[ing] unrelated ads . . .
   21 adjacent to the content that allegedly use[s] [the plaintiff's] name and likeness . . .
   22 created by third-party users." Cross v. Facebook, Inc., 14 Cal. App. 5th 190, 210 (2017).
   23 This is especially true where the value of the use is derived from general characteristics
   24 that are not unique to the plaintiffs individual identity. See Yeager, 673 F. Supp. 2d at
   25 1100.
   26         Here, Plaintiff alleges only that her images appeared in videos placed adjacent

   27 to ads. SAC ¶ 450. She does not allege that she appeared in the ads or was made to
   28 appear to endorse the products advertised. See Cross, 14 Cal. App. 5th at 210. Nor

                                               20
                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1       Filed 08/30/24   Page 32 of 52 Page
                                      ID #:11651


    1 does she allege that MindGeek capitalized on her unique identity or that the ads were
    2 tailored in any way to do so. See SAC ¶ 550-51. Because Plaintiff fails to allege that
    3 MindGeek knowingly used her unique identity, as opposed to simply her images, for
    4 a commercial purpose, Plaintiff's common law and statutory misappropriation
    5 claims, SAC Counts X and XI, must be dismissed.
    6               3.     Plaintiff's Count XIII Fails to State a Claim for Negligence.
    7         Plaintiff's negligence claim fails because she has not alleged that MindGeek
    8 owed her any legal duty. See Toomey v. United States, 615 F.3d 1233, 1237 (9th Cir.
    9 2010) ("Where there is no duty, there can be no negligence"). Where a defendant
   10 merely fails to take affirmative action, the defendant is not liable in negligence absent
   11 a special relationship with the plaintiff. AF Holdings, LLC v. Doe, 2012 WL
   12 4747170, at *5 (N.D. Cal. Oct. 3, 2012). Here, Plaintiff admits that no special
   13 relationship existed between her and MindGeek, and maintains instead that
   14 MindGeek breached its duty to use ordinary care and to prevent injury to Plaintiff by
   15 failing to take down the videos posted by her ex-boyfriends and other buyers of the
   16 videos. See SAC ¶¶ 569-70. Interactive computer services such as MindGeek,
   17 however, do not "have a legal duty to inspect every single user-generated message
   18 before it is communicated to a single person or displayed to the public." Reddit, 2021
   19 WL 586094, at *8; Dyroff, 934 F.3d at 1101 ("No website could function if a duty of
   20 care was created when a website facilitates communication, in a content-neutral
   21 fashion, of its users' content."); see also Doe v. MySpace, 474 F. Supp. 2d 843, 846,
   22 852 (W.D. Tex. 2007) (dismissing negligence claims because Myspace did not owe
   23 a legal duty to parents of a teenager who was raped to protect their daughter from
   24 criminal acts "nor to institute reasonable safety measures on its website").
   25 Accordingly, Plaintiff's negligence claim must be dismissed.
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1       Filed 08/30/24   Page 33 of 52 Page
                                      ID #:11652


    1               4.     Plaintiff's Count XIV Fails to State a Claim for Unfair
                           Competition (Cal. Bus. & Prof. Code §§ 17200 and 17500).
    2
    3         Plaintiff's Unfair Competition Law ("UCL") claim must be dismissed because

    4 she lacks statutory standing. To state a claim under the UCL, Plaintiff must allege that
    5 she has suffered "economic injury . . . caused by[] the unfair business practice. . .that
    6 is the gravamen of the claim." Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d
    7 1037, 1048 (9th Cir. 2017) (internal citation omitted) (emphasis added). The gravamen
    8 of Plaintiff's claim is that MindGeek "fraudulently deceived its users" into believing
    9 that it was "monetizing, distributing, and advertising legitimate, legal content . . . ."
   10 SAC ¶ 575. But Plaintiff does not allege that she is a Pornhub user who was thusly
   11 "fraudulently deceived."8 Moreover, Plaintiff's conclusory allegations that she "lost
   12 money" and suffered "financial harm in the form of costs for therapy," "time away
   13 from her work," and "hiring a company to assist her with her efforts investigate [sic]
   14 the continued dissemination of her videos on Pornhub" are insufficient to show that
   15 she suffered any actionable injury caused by any unfair business practices alleged in
   16 the SAC. SAC ¶¶ 580-81; see Reddit, 2021 WL 5860904, at *9 (dismissing UCL
   17 claim where "there is no indication in the [complaint] that Plaintiffs have lost money
   18 or property as a result of Reddit's alleged conduct"). Plaintiff's UCL claim therefore
   19 must be dismissed for Plaintiff's lack of standing. See, e.g., Holt v. Facebook, Inc.,
   20 240 F. Supp. 3d 1021, 1036 (N.D. Cal. 2017) (dismissing UCL claim for lack of
   21 standing based on "Plaintiff's conclusory allegations").
   22
   23
   24
        8
   25          Further, because Plaintiff's UCL allegations "sound in fraud," her "pleading
      . . . as a whole must satisfy the particularity requirement of Rule 9(b)." Id. !Plaintiff
   26 has not even attempted to meet this heightened pleading standard. She fails to allege
      that MindGeek made a misrepresentation to her, or that she justifiably relied on any
   27 representation    made by MindGeek regarding its "legitimate, legal content," or facts
      sufficient to establish MindGeek's scienter and intent to defraud. Engalla v.
   28 Permanente Med. Grp., Inc., 15 Cal. 4th 951, 974 (1997).

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1         Filed 08/30/24   Page 34 of 52 Page
                                      ID #:11653


    1                5.    Plaintiff Cannot State a Claim for Civil Conspiracy.
    2         To state a claim for civil conspiracy, Plaintiff must particularize sufficient facts
    3 to establish "the formation and operation of the conspiracy, the wrongful act or acts
    4 done pursuant to it, and the damage resulting from such acts." State ex rel. Metz v.
    5 CCC Info. Servs., Inc., 149 Cal. App. 4th 402, 419 (2007) (citations omitted); accord
    6 Ponomarenko v. Shapiro, 287 F. Supp. 3d 816, 831 (N.D. Cal. 2018) (civil
    7 conspiracy claim subject to heightened pleading requirement). Here, Plaintiff pleads
    8 formation of a conspiracy in only the most conclusory terms. SAC ¶ 591. "There are
    9 no allegations concerning when or where such a conspiracy was conceived," or facts
   10 from which an agreement can be inferred. Murphy v. Am. Gen. Life Ins. Co., 74 F.
   11 Supp. 3d 1267, 1288 (C.D. Cal. 2015). Nor does Plaintiff specify each Defendant's
   12 purported role in the alleged conspiracy. See SAC ¶¶ 590-94. And most centrally,
   13 because all of Plaintiff's underlying claims fail, her conspiracy claim must fail as well.
   14 See Marshall v. United States, 2016 WL 11756786, *7 (C.D. Cal. Jan. 4, 2016).
   15 Accordingly, her conspiracy claims must be dismissed.
   16 III.    THE COURT LACKS PERSONAL JURISDICTION OVER
              MINDGEEK S.A R.L.
   17
   18         Despite the benefits of twice amending and obtaining extensive jurisdictional
   19 discovery, Plaintiff's SAC still fails to allege a prima facie case of this Court's
   20 personal jurisdiction over MindGeek S.a. r.l. Even after benefiting from jurisdictional
   21 discovery, Plaintiff still cannot demonstrate any California or even U.S.-related
   22 activities by MindGeek SI r.1., let alone that her alleged harms arose out of any
   23 activity taken by that entity. Instead, Plaintiff's allegations suffer from the same
   24 group-pleading problem that infected the prior iterations of her complaint. Nor has
   25 Plaintiff identified any evidence supporting her alter ego theory of jurisdiction. In
   26 fact, the evidence developed in jurisdictional discovery makes clear that all of the
   27 entities within the MindGeek (now, Aylo) corporate structure operate in accordance
   28 with applicable law, just as any multinational group of companies typically does.

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1       Filed 08/30/24   Page 35 of 52 Page
                                     ID #:11654


    1 And, critically, Plaintiff does not even allege that there would be any fraud or
    2 injustice if MindGeek SI r.l. were dismissed. For all these reasons, MindGeek
    3 S.a r.l. should be dismissed.
    4        A.     Plaintiff Must Come Forward with Evidence Sufficient to Establish
                    Her Disputed Jurisdictional Allegations.
    5
    6        When a defendant moves to dismiss for lack of personal jurisdiction, the
    7 plaintiff bears the burden of demonstrating that the court has jurisdiction. AMA
    8 Multimedia, LLC v. Wanat, 970 F.3d 1201, 1207 (9th Cir. 2020). A plaintiff cannot
    9 survive a motion to dismiss under Rule 12(b)(2) with only 'bare bones' assertions
   10 of minimum contacts with the forum or legal conclusions unsupported by specific
   11 factual allegations." Swartz v. KPMG LLP, 476 F.3d 756, 766 (9th Cir. 2007). And
   12 most importantly, where defendants proffer evidence contradicting the pleadings, as
   13 MindGeek does here, the typical presumption flips: "[D]isputed allegations in the
   14 complaint that are not supported with evidence or affidavits cannot establish
   15 jurisdiction." AMA Multimedia, 970 F.3d at 1207 (emphasis added); see also
   16 Smartstop SelfStorage Operating P 'ship L.P. v. Can-Dev, ULC, 2015 WL 13322430,
   17 at *2 (C.D. Cal. Oct. 26, 2015) ("[T]he district court `may not assume the truth of
   18 allegations in a pleading which are contradicted by affidavit.' (citation omitted)).
   19        Personal jurisdiction can be either general or specific. To be subject to general
   20 personal jurisdiction, the defendant's contacts with the forum must be so constant
   21 and pervasive as to render it "essentially at home" in the forum. Bristol-Myers
   22 Squibb Co. v. Super. Ct. (BMS), 582 U.S. 255, 271 (2017). The "paradigmatic
   23 locations" where a corporation is at home is in the state where it is incorporated and
   24 where it has its principal place of business. Ranza v. Nike, Inc., 793 F.3d 1059, 1069
   25 (9th Cir. 2015). General personal jurisdiction will be available "anywhere else" only
   26 in an "exceptional case." Id. The SAC does not even attempt to meet this "exacting
   27 standard."
   28

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                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 36 of 52 Page
                                      ID #:11655


    1         Absent general personal jurisdiction, a plaintiff must show specific personal
    2 jurisdiction over each defendant. Specific personal jurisdiction empowers the Court
    3 to adjudicate only disputes that "arise out of or relate to" the defendant's forum-based
    4 contacts. BMS, 582 U.S. at 272. To avail herself of this "case-linked" jurisdiction,
    5 Plaintiff must satisfy the Ninth Circuit's three-part test:
    6               (1) the defendant must either purposefully direct his
                    activities toward the forum or purposefully avail himself of
    7               the privileges of conducting activities in the forum; (2) the
                    claim must be one which arises out of or relates to the
    8               defendant's forum-related activities; and (3) the exercise of
                    jurisdiction must comport with fair play and substantial
    9               justice, i.e. it must be reasonable.
   10 AMA Multimedia, 970 F.3d at 1208. Due process requires a direct connection
   11 between the harm alleged and Defendants' contacts with the forum state. "When
   12 there is no such connection, specific jurisdiction is lacking regardless of the extent of
   13 a defendant's unconnected activities in the State." BMS, 582 U.S. at 272; see also
   14 Yamashita v. LG Chem, Ltd., 62 F.4th 496, 506 (9th Cir. 2023) (even if a company
   15 has sufficient contacts with the forum state, those contacts must be related to the
   16 plaintiff's alleged injury).
   17         B.    Plaintiff's Jurisdictional Allegations as to MindGeek S.a r.l. Do Not
                    Meet Her Burden.
   18
                    1.     The Court Lacks Personal Jurisdiction over MindGeek
   19                         r.l.
   20         Plaintiff's allegations of MindGeek S.a r.l.'s contacts with California or the
   21 United States are sparse and conclusory. None meets her burden of demonstrating
   22 this Court's jurisdiction over MindGeek S.a r.l.
   23         First, even accepting Plaintiff's allegations that MindGeek S.a r.l. has "satellite
   24 offices in . . . Los Angeles, San Diego, and San Francisco," and (2) entered into a
   25 deferred prosecution agreement with the US Attorney for the Eastern District of New
   26 York for unlawful monetary transactions unconnected to the Plaintiff, SAC ¶¶ 11,
   27 63, Plaintiff does not, as she must, allege how those United States-based contacts
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 37 of 52 Page
                                     ID #:11656


    1 relate to her claims, see Yamashita, 62 F.4th at 506 (affirming dismissal of defendant
    2 with forum-based contacts because the contacts were not related to the dispute).
    3         Second, and more substantively, Plaintiff's allegations of MindGeek SI r.l.'s
    4 U.S.-based contacts are simply not true. MindGeek S.a r.l. does not do any business
    5 in the United States; it is a foreign holding company without employees or operations
    6 anywhere. Declaration of Andreas Alkiviades Andreou ("Andreou Decl.") ¶ 29.
    7 Plaintiff has offered no evidence otherwise           because none exists.   See AMA
    8 Multimedia, 970 F.3d at 1207 (plaintiff must support "disputed allegations in the
    9 complaint . . . with evidence or affidavits").
   10         Finally, Plaintiff's conclusory allegation that MindGeek S.a. r.l. "directly and
   11 indirectly owns and operates" Pornhub does not meet her burden of demonstrating
   12 personal jurisdiction over MindGeek SI r.l. either. SAC ¶ 11. Indeed, although the
   13 Court previously noted that the First Amended Complaint failed to allege which
   14 entity or entities own or control Pornhub, Plaintiff's second amended effort still
   15 "cannot firmly commit" to any definitive allegation. ECF No. 167 at 3. Instead, the
   16 SAC fatally echoes the same allegations that the Court found insufficient to establish
   17 personal jurisdiction over any entities other than MG Freesites or 9219-1568 Quebec:
   18 that MindGeek S.a r.l. somehow "directly and indirectly owns and operates over 100
   19 pornographic websites . . . including Pornhub," (compare ECF No. 167 at 3; and
   20 FAC ¶ 19, with SAC ¶ 11); and that MindGeek S.a r.l. somehow "owns and/or
   21 controls the majority of the pornography on the Internet," (compare ECF No. 167 at
   22 3; and FAC ¶ 19, with SAC ¶ 11). The mere fact, however, that MindGeek S.a r.l. is
   23 the indirect parent corporation of the entity that operates Pornhub cannot alone bring
   24 MindGeek S.a r.l. within this Court's jurisdiction. See, e.g., Ranza, 793 F.3d at 1070
   25 ("The existence of a parent-subsidiary relationship is insufficient, on its own, to
   26 justify imputing one entity's contacts with a forum state to another for the purpose of
   27 establishing personal jurisdiction.").
   28

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 38 of 52 Page
                                      ID #:11657


    1                2.     MindGeek S.a r.l. Is Also Beyond the Territorial Reach of 18
    2                       U.S.C. § 1595.

    3         Plaintiff's section 1595 claim, supra at 15-16, should be dismissed as to

    4 MindGeek S.a r.l. because it is beyond the territorial reach of section 1595. "The
    5 scope of an extraterritorial statute . . . turns on the limits Congress has (or has not)
    6 imposed." RJR Nabisco, Inc. v. Eur. Cmty., 579 U.S. 325, 337-38 (2016). "It is a
    7 longstanding principle of American law that legislation of Congress, unless a
    8 contrary intent appears," applies "only within the territorial jurisdiction of the United
    9 States." Morrison v. Nat'l Aus. Bank Ltd., 561 U.S. 247, 255 (2010) (internal
   10 quotation marks omitted). Thus, "[w]hen a statute gives no clear indication of an
   11 extraterritorial application, it has none," id., and even "when a statute provides for
   12 some extraterritorial application, the presumption against extraterritoriality operates
   13 to limit that provision to its terms," id. at 265.
   14         In 2008, Congress amended the Trafficking Victims Prevention and Protection

   15 Reauthorization Act (TVPRA) to add a limited grant of extraterritorial jurisdiction
   16 for certain criminal statutes, including section 1591. Ratha v. Phatthana Seafood
   17 Co., 35 F.4th 1159, 1165 (9th Cir. 2022). As that grant provides:
   18                In addition to any domestic or extra-territorial jurisdiction
                     otherwise provided by law, the courts of the United States
   19                have extra-territorial jurisdiction over any offense (or any
                     attempt or conspiracy to commit an offense) under section
   20                1581, 1583, 1584, 1589, 1590, or 1591 if (1) an alleged
                     offender is a national of the United States or an alien
   21                lawfully admitted for permanent residence . . . ; or (2) an
                     alleged offender is present in the United States, irrespective
   22                of the nationality of the alleged offender.

   23 18 U.S.C. § 1596(a).9 Construing the second prerequisite imposed by section 1596,
   24 the Ninth Circuit has held that "[t]he plain meaning of the adjective `present' is `in a
   25
   26   9    "[W]hile § 1596 explicitly grants extraterritorial application to many criminal
      statutes, it does not mention their civil analo ue, § 1595. Doe I v. Apple Inc., 2021
   27 WL 5774224, at *15 (D.D.C. Nov. 2, 2021 . Nevertheless, the Ninth Circuit has
      "assume[d] without deciding that section 15 5 may apply extraterritorially." Ratha,
   28 35 F.4th at 1164.

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 39 of 52 Page
                                     ID #:11658


    1 particular place.'" Ratha, 35 F.4th at 1169. And while the Ratha panel did not
    2 definitively resolve the meaning of the phrase "present in the United States," id.,
    3 other courts have read it as requiring that a defendant be "found in" the U.S., Ratha
    4 v. Phatthana Seafood Co., 2017 WL 8292922, at *4 (C.D. Cal. Dec. 21, 2017); see
    5 also United States v. Yousef, 327 F.3d 56, 89 (2d Cir. 2003) (treating "found in the
    6 United States" as synonymous with "present in the United States").
    7         Neither requirement for extraterritorial jurisdiction has been established by
    8 Plaintiff. MindGeek SI r.l. is not a national of the U.S., an alien lawfully admitted
    9 for permanent residence, or "present in" the U.S. 18 U.S.C. § 1596(a). Rather,
   10 MindGeek SI r.l. is a private limited liability company incorporated under the laws
   11 of Luxembourg. SAC ¶ 11. The documented record establishes that MindGeek
   12 S.a.r.l. has been and is nothing more than a holding company, without any employees
   13 or operations of its own. Andreou Decl. ¶ 29. MindGeek S.a r.l. is therefore beyond
   14 the territorial reach of section 1591.
   15         Moreover, even if section 1591 could apply extraterritorially, there is no legal
   16 basis for asserting a claim arising out of its civil analogue here. As noted above,
   17 section 1596 "does not mention . . . § 1595." Apple, 2021 WL 5774224, at *15.
   18 "Congress could have easily included § 1595 in § 1596, but it did not." Id. And "the
   19 text and structure of § 1596 suggest that it was focused on criminal, not civil,
   20 applications." Id.     "[T]he title of § 1596 is `Additional jurisdiction in certain
   21 trafficking offenses.'" Id. "It extends `extra-territorial jurisdiction over any offense
   22 (or any attempt or conspiracy to commit an offense) to the above-mentioned sections
   23 of the TVPRA, all criminal provisions." Id. (emphasis in original). Congress's
   24 decision to omit section 1595 from section 1596's list of offenses likely "was an
   25 intentional decision not to extend extraterritorially the reach of the statute's civil
   26 component." Id. at *16. In any event, when a statute such as section 1595 "gives no
   27 clear indication of an extraterritorial application, it has none." Morrison, 561 U.S. at
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 40 of 52 Page
                                     ID #:11659


    1 255. Thus, even if MindGeek S.a r.l. could, in theory, be prosecuted for violating
    2 section 1591, there is no basis for applying section 1591's civil analogue, section
    3 1595, to MindGeek S.a r.l. extraterritorially.
    4               3.     Plaintiff Cannot Group-Plead Her Way to Jurisdiction.
    5         Rather than plead specific facts supporting this Court's exercise of personal
    6 jurisdiction over MindGeek S.a r.1., the SAC resorts to the same group-pleading
    7 device that infected Plaintiff's last complaint. See ECF No. 167 at 3 n.3. But, as this
    8 Court pointed out, Plaintiff cannot impute the actions of one defendant to another to
    9 establish personal jurisdiction. Id.; see Allen v. Shutterfly, Inc., WL 5517170, at *4
   10 (N.D. Cal. Sep. 14, 2020). Plaintiff instead must establish the Court's personal
   11 jurisdiction over each defendant individually. Calder v. Jones, 465 U.S. 783, 790
   12 (1984). She cannot do so with a "shotgun" pleading that lumps all Defendants
   13 together and alleges that they collectively took actions in or aimed at California.
   14 Broidy Cap. Mgmt., LLC v. Qatar, 2018 WL 9943551, at *5, 7 (C.D. Cal. Aug. 22,
   15 2018); see Yost v. Nationstar Mortg., LLC, 2013 WL 4828590, at *3 (E.D. Cal. Sept.
   16 9, 2013) ("Under the pleading standard of either Rule 8 or Rule 9 [to the extent
   17 applicable], Plaintiff[] must distinguish Defendants' particular roles in the alleged
   18 causes of action."). Yet that is precisely what the SAC again attempts. Its lumped
   19 allegations continue to fail to establish personal jurisdiction over MindGeek S.a. r.l.
   20         C.   Plaintiff Cannot Impute Other Entities' Contacts to Establish
                   Jurisdiction over MindGeek S.A. r.l.
   21         Unable to identify any specific contacts between MindGeek SI r.l. and the
   22 United States (because there are none), Plaintiff instead attempts to impute the
   23 jurisdictional contacts of the non-objecting entities to MindGeek S.a r.l. by
   24 conclusionally claiming that all the MindGeek entities are "alter egos of one
   25 another." See SAC ¶¶ 20, 31, 32. Stripped of its hyperbole, however, the SAC
   26 specifies few alleged facts even relevant to the alter ego analysis. What the SAC
   27 does allege is nothing more than an ordinary parent-subsidiary relationship between
   28 MindGeek S.a r.l. and its subsidiaries.

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 41 of 52 Page
                                      ID #:11660


    1          "A basic tenet of American corporate law is that the corporation and its
    2 shareholders are distinct entities." Ranza, 793 F.3d at 1070 (quoting Dole Food Co.
    3 v. Patrickson, 538 U.S. 468, 474 (2003)).              Accordingly, a parent-subsidiary
    4 relationship, standing alone, is not enough to impute one entity's jurisdictional
    5 contacts to another. See Doe v. Unocal Corp., 248 F.3d 915, 925 (9th Cir. 2001).
    6 Still, a plaintiff may impute a subsidiary's forum-based contacts to its corporate
    7 parent     but only in "limited circumstances." Ranza, 793 F.3d at 1071. Such veil-
    8 piercing is, however, 'the rare exception' rather than the rule." Kite Shipping LLC
    9 v. San Juan Nay. Corp., 2012 WL 6720624, at *3 (S.D. Cal. Dec. 26, 2012) (quoting
   10 Dole Food Co., 538 U.S. at 475). It is a "drastic remedy" that should be applied only
   11 "reluctantly and cautiously." Vacless Sys. v. Vac-Alert Ip Holdings, LLC, 2011 WL
   12 13217924, at *4 (C.D. Cal. June 24, 2011). To pierce the corporate veil, a plaintiff
   13 must show much more than ordinary control of the subsidiary by the parent.
   14 "[D]isregard of corporate separateness requires that the controlling corporate entity
   15 exercise total domination of the subservient corporation, to the extent that the
   16 subservient corporation manifests no separate corporate interests of its own." Chan
   17 v. Soc'y Expeditions, Inc., 123 F.3d 1287, 1294 (9th Cir. 1997) (internal quotation
   18 marks omitted) (emphasis added).
   19          To make a prima facie showing of an alter ego relationship, a plaintiff must
   20 plausibly allege "(1) that there is such unity of interest and ownership that the
   21 separate personalities of [the entities] no longer exist and (2) that failure to disregard
   22 [their separate identities] would result in fraud or injustice." AT&T v. Compagnie
   23 Bruxelles Lambert, 94 F.3d 586, 591 (9th Cir. 1996), supplemented, 95 F.3d 1156
   24 (9th Cir. 1996); see Bauman v. DaimlerChrysler Corp., 644 F.3d 909, 913-14 n.7
   25 (9th Cir. 2011) (applying prima facie standard for personal-jurisdiction allegations
   26 even after jurisdictional discovery), overruled on other grounds, 571 U.S. 117
   27
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 42 of 52 Page
                                     ID #:11661


    1 (2014). To succeed, she must establish both prongs. See Unocal Corp., 248 F.3d at
    2 928. Plaintiff cannot satisfy either prong.
    3               1.     Plaintiff Cannot Establish Any facts to Overcome the
                           Presumption of Separateness.
    4
    5         The "unity of interest and ownership" prong requires "a showing that the

    6 parent controls the subsidiary to such a degree as to render the latter the mere
    7 instrumentality of the former." Ranza, 793 F.3d at 1073. "This test envisions
    8 pervasive control over the subsidiary, such as when a parent corporation dictates
    9 every facet of the subsidiary's business        from broad policy decisions to routine
   10 matters of day-to-day operation." Id. (internal quotation marks omitted) (emphasis
   11 added).     Ordinary supervision of the subsidiary         such as "monitoring of the
   12 subsidiary's performance, supervision of the subsidiary's finance and capital budget
   13 decisions, and articulation of general policies and procedures"      does not justify the
   14 drastic remedy of piercing the corporate veil.         Unocal Corp., 248 F.3d at 926.
   15 Instead, factors supporting an inference of unity of interest include: "[1]
   16 commingling funds and other assets; [2] representing that an entity or officer is liable
   17 for the debts of the corporation; [3] inadequate capitalization of the corporation; [4]
   18 disregard of corporate formalities; and [5] lack of segregation of records." Johnston
   19 v. Irontown Hous. Co., Inc., 2014 WL 12531189, at *6 (S.D. Cal. Dec. 9, 2014).
   20 Multiple supporting factors must be evident to pierce the corporate veil. Id. at *7;
   21 see, e.g., Corcoran v. CVS Health Corp., 169 F. Supp. 3d 970, 983-84 (N.D. Cal.
   22 2016) (presence of even three factors alone insufficient). And isolated incidents of
   23 improper corporate formalities do not alone meet the alter ego test. See Harris Rutsky
   24 & Co. Ins. Servs. v. Bell & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003). The
   25 SAC's allegations      numerous as they may be           do not meet this demanding
   26 standard.
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 43 of 52 Page
                                     ID #:11662


    1                           i.
                                 MindGeek S.a r.l. and the Other MindGeek Entities
                                 Are Typical Parent and Subsidiaries.
    2        The SAC fails to demonstrate any pervasive control by MindGeek SI r.l. To
    3 the contrary, the record establishes that MindGeek S.a r.l. and its various subsidiaries
    4 are separate corporate entities. There is no intermingling of assets or disregard for
    5 corporate formalities here by any of the six named MindGeek entities. Each has its
    6 own funds and accounts, maintains its own accounting records, and files and pays its
    7 own taxes. Andreou Decl. ¶¶ 19, 30, 35, 39, 43, 48. Each is adequately capitalized,
    8
    9 Id. Each has a board of directors or the foreign equivalent, and each observes the
   10 appropriate corporate formalities. Id. ¶¶ 31, 36, 39, 44, 48.
   11        Against these documented facts, nothing in the SAC demonstrates anything
   12 other than a typical parent-subsidiary relationship between MindGeek SI r.l. and its
   13 subsidiaries.
   14                                                                         10 But "a parent
   15 corporation may be directly involved"     even "heavily involved," Ranza, 793 F.3d at
   16 1074    "in the activities of its subsidiaries without" making the subsidiary its alter
   17 ego, Harris Rutsky, 328 F.3d at 1135. Instead, to establish an alter ego relationship,
   18 the parent's control must be "pervasive," extending "from broad policy decision to
   19 routine matters of day-to-day operation." Ranza, 793 F.3d at 1073. Plaintiff makes
   20 no such allegation.
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   24 Those are precisely the kinds of "macromanagement" decisions in which parents are
   25 ordinarily involved. See Ranza, 793 F.3d at 1074 (allegations that parent "exercises
   26
      10   There is nothing improper about the Individual Defendants' leadership of the
   27
      MindGeek entities, as explained in the Individual Defendants' concurrently filed
   28 motions to dismiss.

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1         Filed 08/30/24   Page 44 of 52 Page
                                     ID #:11663


    1 control over [the subsidiary's] overall budget and has approval authority for large
    2 purchases; establishes general human resource policies for both entities and is
    3 involved in some hiring decisions; operates information tracking systems all of its
    4 subsidiaries utilize; ensures the [parent's] brand is marketed consistently throughout
    5 the world; and requires some [subsidiary] employees to report to [parent] supervisors
    6 on a `dotted-line' basis" not sufficient); Iconlab, Inc. v. Bausch Health Cos., 828 F.
    7 App'x 363, 364-65 (9th Cir. 2020) (allegations that parent "approved [subsidiaries']
    8 large purchases, financed their activity, issued collective media releases, and
    9 submitted consolidated earnings reports" reflected only "routine operations between
   10 a parent and its subsidiary").
   11         Further, contrary to the SAC' s conclusory allegations (¶¶ 394-98, 416-17), all
   12 the MindGeek entities operate distinctly.
   13                                                           that alone does not render them
   14 alter egos of each other." See Harris Rutsky, 328 F.3d at 1135; Ranza, 793 F.2d at
   15 1074 ("Some employees and management personnel move between the entities, but
   16 that does not undermine the entities' formal separation."). And significantly, because
   17 they are separate, when the entities provide services to one another, they do so under
   18 written service agreements, which are priced based on a cost-plus model, with the
   19 mark-up determined by annual transfer pricing studies conducted by MindGeek's
   20 auditors. Andreou Decl. ¶¶ 15-16. Providing those services across the enterprise
   21 under formal agreements is not evidence of an alter ego relationship. See Youngevity
   22 Intl, 2024 WL 838707, at *2 (finding no alter ego relationship where the entities had
   23
   24 1 I
             Although the Court previously pointed to the overlap in directorship between
   25 the MindGeek    entities as a potential basis to extend alter ego liability, ECF No. 167
      at 4, that alone does not justify disregarding corporate separateness, see Kramer
   26 Motors, Inc. v. British Leyland, Ltd., 628 F.2d 1175, 1177 (9th Cir. 1980) (holding
      there was no alter ego relationship where some directors for one entity had sat on the
   27 board  of the other); Youngevity Ina, Inc. v. Innov8Tive Nut., Inc., 2024 WL 838707,
      at *2 (9th Cir. Feb. 28, 2024) (no alter ego status even where both entities shared the
   28 same sole director).

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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1       Filed 08/30/24   Page 45 of 52 Page
                                     ID #:11664


    1 "a services agreement whereby [one] provides management, consulting, accounting,
    2 and administrative services" to the other). Moreover,
    3
    4
    5                                                                 , does not "establish the
    6 existence of an alter ego relationship" either. Unocal Corp., 248 F.3d at 928; Payoda,
    7 Inc. v. Photon Infotech, Inc., 2015 WL 4593911, at *3 (N.D. Cal. July 30, 2015)
    8 ("marketing puffery carries no weight in establishing whether a parent and its
    9 subsidiary are in fact alter egos").
   10        Nor can Plaintiff's allegations of
   11 establish any commingling of funds. SAC ¶¶ 412-15. Like many multinational
   12 companies, MindGeek uses a centralized treasury system to improve cash
   13 management across the enterprise. Andreou Decl. ¶ 18. The centralized treasury
   14 system allows the entities to move cash as necessary to meet immediate obligations.
   15 Id. But when the cash is moved between entities, those transactions are documented
   16 in the entities' accounting systems. Id. And the entities do in fact
   17                                             See SAC ¶ 413. There is no central bank
   18 account; each entity has its own bank accounts, and when money moves out of those
   19 accounts, it is well documented. Andreou Decl. ¶ 18.
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1       Filed 08/30/24   Page 46 of 52 Page
                                      ID #:11665


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   10         In sum, nothing in the SAC alleges anything beyond an ordinary parent-
   11 subsidiary relationship. MindGeek SI r.l. allegedly is involved in its subsidiaries'
   12 businesses. But being involved       even if "heavily involved"      does not rise to the
   13 level of the pervasive control necessary to invoke the drastic remedy of piercing the
   14 corporate veil. Ranza, 793 F.3d at 1074.
   15                           ii.
                                  MindGeek S.a r.l.'s Relationship with                       .1.



                                         Is Proper and in Any Event Irrelevant.
   16         The bulk of the SAC's remaining alter ego allegations focus on an allegedly
   17 improper relationship between MindGeek S.a r.l. and                               All of
   18 those allegations are belied by the evidence, but even if they were true, they are
   19 legally irrelevant.
   20         Plaintiff essentially posits that if MindGeek SI r.l. and                     are
   21 alter egos of each other, then so are all the MindGeek subsidiaries and affiliates. But
   22 that has no basis in the law. There is no such thing as presumptive alter ego liability
   23 among all entities under a corporate umbrella. Instead, "the inquiry into alter ego
   24 liability is individual." Whitney v. Wurtz, 2007 WL 1593221, at *2 (N.D. Cal. June
   25 1, 2007). "[J]ust because the `alter ego theory makes a parent liable for the actions
   26 of a subsidiary which it controls . . . does not mean that where a parent controls
   27 several subsidiaries each subsidiary then becomes liable for the actions of all other
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1       Filed 08/30/24   Page 47 of 52 Page
                                      ID #:11666


    1 subsidiaries." Tatting Co. v. Shu Tze Hsu, 217 F. Supp. 3d 1138, 1181 (C.D. Cal.
    2 2016); see G.O. Am. Shipping Co., Inc. v. China COSCO Shipping Corp. Ltd., 2017
    3 WL 6026959, at *4-5 (W.D. Wash. Dec. 5, 2017) (plaintiff's allegations of parent's
    4 alter ego relationship with non-defendant subsidiary did not justify exercising
    5 personal jurisdiction over parent), amended on reconsideration in part, 2018 WL
    6 9669746 (W.D. Wash. Jan. 16, 2018), and aff'd, 764 F. App'x 629 (9th Cir. 2019).
    7 Instead, to show an alter ego relationship, Plaintiff must proffer facts supporting an
    8 alter ego relationship between each entity. See, e.g., UHS of Del., Inc. v. United
    9 Health Servs., 2015 WL 539736, at *4 (M.D. Pa. Feb. 10, 2015). Thus, even if
   10 Plaintiff can show that MindGeek SI r.l. and                            are alter egos of
   11 each other, it is legally irrelevant because                      is not a defendant here.
   12         Beyond that threshold flaw, there is no basis to pierce the corporate veil
   13 between MindGeek S.a r.l. and                             at all. Plaintiff's allegations,
   14 though spanning many pages, at bottom stem from her self-serving view that the
   15 corporate structure of MindGeek S.a r.l. and
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   26         To the contrary, the record establishes that these economic interests complied
   27 with all relevant corporate forms.
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1       Filed 08/30/24    Page 48 of 52 Page
                                     ID #:11667


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    7                        Plaintiff makes no allegation otherwise.
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   12                                                                 Structuring multinational
   13 companies to promote tax efficiency is not a basis for piercing the corporate veil. See
   14 Smart Trike v. Piermont Prods. LLC, 2014 N.Y. Slip Op. 31306(U), ¶ 2 n.2 (Sup. Ct.
   15 N.Y. Cty.) ("Optimizing international corporate structure for tax and regulatory
   16 purposes is not a basis to pierce the corporate veil." (applying New York law)). It is,
   17 once again, just typical corporate planning, conducted by countless multinational
   18 companies every day!'
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              On t            nds established above, Plaintiff's allegations that MindGeek
   27     r.l. and            are operated by the same personnel and have centralized and
      integrated corporate functions do not support an alter ego determination. See SAC
   28 ¶¶ 397-98; supra at 33.

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                             MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1       Filed 08/30/24   Page 49 of 52 Page
                                      ID #:11668


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   17                it is routine for entities under the same corporate umbrella to guaranty
   18 loans for each other. See, e.g., Kramer Motors, 628 F.2d at 1177 (no alter ego
   19 relationship even where parent guaranteed the loan of its subsidiary); Indus. Bank of
   20 Korea v. ASI Corp., 2018 WL 6164315 at *10 (C.D. Cal. Apr. 26, 2018) ("corporate
   21 parents may        and routinely do   guaranty debts of their subsidiaries while still
   22 maintaining corporate separateness").        In sum, nothing about the relationship
   23 between                    and MindGeek SI r.l. overcomes the presumption of
   24 separateness between MindGeek S.a r.l. and any of its subsidiaries.
   25               2.      Plaintiff Cannot Establish That Failing to Disregard the
                            Separateness Would Result in Fraud or Injustice.
   26
   27        Plaintiff's alter ego theory fails for a separate and independently dispositive

   28 reason    she cannot show that "'failure to disregard' the separate entities `would

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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-1        Filed 08/30/24   Page 50 of 52 Page
                                      ID #:11669


    1 result in fraud or injustice.' Iconlab, Inc., 828 F. App'x at 364 (quoting Ranza, 793
    2 F.3d at 1073). "[M]ere ' [d]ifficulty in enforcing a judgment or collecting a debt does
    3 not satisfy' the injustice standard for alter ego liability." Perfect 10, Inc. v. Giganews,
    4 Inc., 847 F.3d 657, 677 (9th Cir. 2017). "The alter ego doctrine . . . instead affords
    5 protection where some conduct amounting to bad faith makes it inequitable for the
    6 corporate owner to hide behind the corporate form." Id. (emphasis in original).
    7 "Insolvency or inadequate capitalization may satisfy this standard `when a
    8 corporation is so undercapitalized that it is unable to meet debts that may reasonably
    9 be expected to arise in the normal course of business.' Id. But "multimillion dollar
   10 judgments" are not within a company's "ordinary course of business."                 In re
   11 Hydroxycut Marketing and Sales Practices Litig., 810 F. Supp. 2d 1100, 1123 (S.D.
   12 Cal. 2011).
   13         On the documented record, observing the corporate separateness of the
   14 MindGeek Defendants would not result in fraud or injustice. Plaintiff conspicuously
   15 fails to allege how "fraud or injustice" would occur unless the Court were to ignore
   16 the corporate separateness of the MindGeek entities. This is not a situation where
   17 the only proper defendant is absent. Plaintiff has sued the operator of the websites at
   18 issue in this lawsuit, MG Freesites Ltd, and MindGeek does not challenge the Court's
   19 jurisdiction over that entity or over 9219, which acts as a service provider to MG
   20 Freesites. And "[t]here are no facts before the Court that suggest Plaintiff cannot be
   21 made whole through a lawsuit against [Freesites and 9219]." Shimmick Constr.
   22 Co./Obayashi Corp. v. Officine Meccaniche Galletti-O.M.G. S.R.L., 2014 WL
   23 5847440, at *7 (S.D. Cal. Nov. 12, 2014). Plaintiff has made no showing of "bad
   24 faith" on the part of any defendant, which is "a critical factor in the analysis."
   25 Advanced Eng'g Sols. Co. v. Pers. Corner, LLC, 2021 WL 1502705, at *5 (C.D. Cal.
   26 Feb. 25, 2021). Nor is there is any evidence that MG Freesites and 9219 are not
   27 adequately capitalized. The SAC no longer alleges, as Plaintiff's First Amended
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                               MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-1        Filed 08/30/24   Page 51 of 52 Page
                                     ID #:11670


    1 Complaint baselessly did, that Defendants posted "'massive' net losses, owing to
    2 various schemes in which some MindGeek Defendants bleed money out of others
    3 through fraudulent transactions." ECF No. 167 at 4; see FAC ¶¶ 131-37. Instead,
    4 jurisdictional discovery has confirmed what was true all along: MG Freesites and
    5 9219 have enough capital to "meet debts that may reasonably be expected to arise in
    6 the normal course of business."       Perfect 10, 847 F.3d at 677. Each
    7                                 , Andreou Decl. ¶¶ 20, 35, 51, and Plaintiff does not
    8 even allege that their assets are insufficient to satisfy any potential judgment she may
    9 obtain.
   10        In sum, because Plaintiff fails to establish that MindGeek S.a r.l. is the alter
   11 ego of any other Defendant, and because failure to disregard its separateness would
   12 not result in fraud or injustice, personal jurisdiction may not be extended over
   13 MindGeek S.a r.l. under an alter ego theory.
   14                                    CONCLUSION
   15        For all of the foregoing reasons, the Court should dismiss with prejudice the
   16 entirety of Plaintiff's Second Amended Complaint.
   17   Dated: August 30, 2024                 Respectfully submitted,
   18                                          MINTZ LEVIN COHN FERRIS
   19                                          GLOVSKY AND POPEO, P.C.

   20                                          /s/ Peter A. Biagetti
   21                                          Esteban Morales
                                               Peter A. Biagetti
   22
   23                                          Attorneys for Defendants
                                               MindGeek, S.a. r.l. (specially appearing),
   24                                          MG Freesites Ltd, MG Premium Ltd,
   25                                          MindGeek USA Incorporated, MG Global
                                               Entertainment Inc., and 9219-1568 Quebec
   26                                          Inc.
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                              MEMO IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-1      Filed 08/30/24   Page 52 of 52 Page
                                    ID #:11671



    1                        CERTIFICATE OF COMPLIANCE

    2        The undersigned, counsel of record for Defendants MindGeek, SI r.l.
    3 (specially appearing), MG Freesites Ltd, MG Premium Ltd, MindGeek USA
    4 Incorporated, MG Global Entertainment Inc., and 9219-1568 Quebec Inc., certifies
    5 that this brief contains 40 pages, which complies with the 40-page limit set in the
    6 Court's Order Granting the Parties' Joint Stipulation Relating to Defendants'
    7 Responses to Plaintiff's Second Amended Complaint dated August 2, 2024 (ECF
    8 No. 424).
    9   Dated: August 30, 2024              Respectfully submitted,
   10                                       MINTZ LEVIN COHN FERRIS
   11                                       GLOVSKY AND POPEO, P.C.

   12                                       /s/ Peter A. Biagetti
   13                                       Esteban Morales
                                            Peter A. Biagetti
   14
                                            Attorneys for Defendants
   15
                                            MindGeek, S.a. r.l. (specially appearing),
   16                                       MG Freesites Ltd, MG Premium Ltd,
                                            MindGeek USA Incorporated, MG Global
   17
                                            Entertainment Inc., and 9219-1568 Quebec
   18                                       Inc.
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                             MEMO IN SUPPORT OF MOTION TO DISMISS
